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                        Exhibit A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------   X
                                                                :
MARK NUNEZ, et al.,                                             :
                                                                :
                           Plaintiffs,                          :
                                                                :
   - against -                                                  :
                                                                :
CITY OF NEW YORK, et al.,                                       :
                                                                :
                           Defendants.                          :
                                                                : 11 Civ. 5845 (LTS)(JCF)
-------------------------------------------------------------   X
                                                                :
UNITED STATES OF AMERICA,                                       :
                                                                :
                             Plaintiff-Intervenor,              :
                                                                :
   - against -                                                  :
                                                                :
CITY OF NEW YORK and NEW YORK CITY                              :
DEPARTMENT OF CORRECTION,                                       :
                                                                :
                             Defendants.                        :
-------------------------------------------------------------   X




                                         CONSENT JUDGMENT
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                                      I.      BACKGROUND

               This Consent Judgment (“Agreement”) is entered by and among the Plaintiff
Class (as defined herein), Plaintiff the United States of America (the “United States”), and
Defendants the City of New York (the “City”) and the New York City Department of Correction
(the “Department” or “DOC”) (the City and the Department are collectively referred to herein as
the “Defendants”).

                WHEREAS, the purpose of this Agreement is to protect the constitutional rights
of the inmates confined in jails operated by the Department. The terms and requirements of this
Agreement will be interpreted to be consistent with the measures necessary to protect the
constitutional rights of inmates and are not meant to expand or contract the constitutional rights
of inmates at the jails operated by the Department;

                WHEREAS, on or about May 24, 2012, the Amended Complaint was filed, and
on or about September 4, 2012, the Second Amended Complaint was filed by four Plaintiff Class
representatives and eight individual Plaintiffs (collectively, the “Named Plaintiffs”). The First
and Second Amended Complaints alleged that the Department engaged in a pattern and practice
of using unnecessary and excessive force against inmates in violation of their rights, and the
rights of the members of the Plaintiff Class, under the Eighth and Fourteenth Amendments to the
United States Constitution and the Constitution and laws of the State of New York. The Plaintiff
Class representatives sought injunctive and declaratory relief on behalf of themselves and the
Plaintiff Class. In addition, the Named Plaintiffs sought monetary damages related to specific
incidents allegedly involving the excessive use of force against them;

                WHEREAS, by Order dated January 7, 2013, the Court certified the Plaintiff
Class pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(1)(A) and 23(b)(2). The
certified Plaintiff Class is defined as: “all present and future inmates confined in jails operated
by [the Department], except for the Eric M. Taylor Center and the Elmhurst and Bellevue Prison
Wards.” As set forth in Paragraph 2 of Section II (Jurisdiction, Venue, and Revised Class
Definition), for purposes of this Agreement, the certified Plaintiff Class shall be expanded to
include all present and future inmates confined in the Eric M. Taylor Center;

               WHEREAS, prior to entering this Agreement, the Plaintiff Class and Defendants
engaged in extensive discovery, including depositions of numerous Department employees and
the production of more than one million pages of documents;

                WHEREAS, beginning in 2012, the United States Attorney’s Office for the
Southern District of New York (“SDNY”) conducted an investigation into the treatment of
young male inmates, between the ages of 16 and 18, at jails located on Rikers Island pursuant to
the Civil Rights of Institutionalized Persons Act (“CRIPA”), 42 U.S.C. § 1997, and Section
14141 of the Violent Crime Control and Law Enforcement Act of 1994, 42 U.S.C. §14141. At
the time of the investigation, most of these young male inmates were housed at the Robert N.
Davoren Complex and the Eric M. Taylor Center;

              WHEREAS, on August 4, 2014, the SDNY and the Department of Justice
(“DOJ”) issued a findings letter pursuant to CRIPA that concluded that young male inmates,

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between the ages of 16 and 18, were being subjected to unconstitutional conditions of
confinement. In particular, the findings letter asserted that the City had engaged in a pattern and
practice of: (a) subjecting these inmates to excessive and unnecessary use of force; (b) failing to
adequately protect them from violence inflicted by other inmates; and (c) placing them in
punitive segregation at an alarming rate and for excessive periods of time;

                WHEREAS, on December 18, 2014, the United States filed an unopposed motion
to intervene in this action, which was granted by the Court on December 23, 2014; and

               WHEREAS, the Plaintiff Class, the United States, and Defendants will jointly
petition the Court for approval of this Agreement;

          NOW, THEREFORE, the Parties stipulate and agree, and IT IS HEREBY
ORDERED, ADJUDGED, AND DECREED as follows:



               II.     JURISDICTION, VENUE, AND REVISED CLASS DEFINITION

1.     The Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1343, 1345, and
       1367. Venue is proper in the United States District Court for the Southern District of
       New York pursuant to 28 U.S.C. § 1391(b).

2.     Plaintiff Class’s Counsel and Defendants agree for purposes of this Agreement that the
       certified Plaintiff Class shall be expanded to include all present and future inmates
       confined in the Eric M. Taylor Center. Accordingly, the revised certified Plaintiff Class
       is defined as “all present and future inmates confined in jails operated by the Department,
       except for the Elmhurst and Bellevue Prison Wards.”



                                      III.     DEFINITIONS

1.     The term “Anticipated Use of Force” means a situation, including but not limited to cell
       extractions, in which it is apparent that Staff Members will likely need to use force to
       address the situation and there is time to prepare a plan of action prior to using force.

2.     The term “Business Day” means a day which is not a Saturday or Sunday or legal holiday
       on which banks are authorized or required to close in New York, New York.

3.     The term “Class A” refers to a classification used by DOC to describe Use of Force
       Incidents that require medical treatment beyond the prescription of over-the-counter
       analgesics or the administration of minor first aid, including Use of Force Incidents
       resulting in one or more of the following treatments/injuries: multiple abrasions and/or
       contusions, a chipped or cracked tooth, loss of a tooth, a laceration, a puncture, a fracture,
       loss of consciousness, a concussion, a suture, internal injuries (e.g., ruptured spleen,
       perforated eardrum, etc.), or admission to a hospital. Such injuries are referred to as
       “Class A Injuries” in this Agreement.

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4.      The term “Class B” refers to a classification used by DOC to describe Use of Force
        Incidents that: (a) do not require hospitalization or medical treatment beyond the
        prescription of over-the-counter analgesics or the administration of minor first aid (e.g.,
        Use of Force Incidents that result in a superficial bruise, scrape, scratch, or minor
        swelling); or (b) involve the forcible use of mechanical restraints in a confrontational
        situation that results in no or minor injury.

5.      The term “Class C” refers to a classification used by DOC to describe Use of Force
        Incidents that result in no injury to Staff Members or Inmates, including but not limited to
        Use of Force Incidents where the use of Oleoresin Capsicum (“OC”) spray results in no
        injury, beyond irritation that can be addressed through decontamination.

6.      The term “Class P” refers to a classification used by DOC to describe Use of Force
        Incidents that have yet to be classified as Class A, B, or C.

7.      The term “Commissioner” means the Commissioner of DOC.

8.      The term “Complete Camera Coverage” means fixed camera coverage sufficient to
        capture the activities and movement of all persons in a given area of a Facility, with the
        exception of toilets, the interiors of cells, the interiors of shower areas (although there
        must be fixed camera coverage of the ingress and egress of shower areas), and areas
        located within clinics and mini-clinics that are used exclusively to provide medical
        treatment to Inmates and Staff Members in a private setting, such as designated treatment
        rooms or cubicles (although there must be fixed camera coverage of the ingress and
        egress of such areas). “Complete Camera Coverage” shall not include small, isolated
        blind spots caused by technological and/or mechanical limitations or the design of
        interior spaces.

9.      The term “Corrections Health Care Provider” means the agency or entity that is
        responsible for providing medical and mental health care services to Inmates.

10.     “Days” are measured in calendar days; weekend days are included.

11.     The “Direct Supervision Model” or “Direct Supervision” means a style of supervising
        and managing Inmates that includes the following elements: (a) the assigned correction
        officer is stationed in the dayroom or other congregate area of the unit so that he or she is
        among the Inmates when they are out of their cells; (b) an emphasis on frequent, informal
        interactions and communications between the assigned officer and the Inmates; (c) an
        emphasis on early intervention to avoid potential inmate-on-inmate conflicts or crisis
        situations; and (d) the assigned officer and front-line supervisor are afforded substantial
        authority so that they feel responsible for the effective management and supervision of
        the unit.

12.     The term “DOI” means the New York City Department of Investigation.

13.     The term “Effective Date” means the date this Agreement is approved and entered by the
        Court.


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14.     The term “Facility” means any DOC command or institution.

15.     The term “ICO” means an Integrity Control Officer.

16.     The term “ID” means the Investigation Division of the Department.

17.     To “implement” a policy, procedure, system, or other remedial measure means putting in
        place the policy, procedure, system, or other remedial measure, including informing,
        instructing, or training all appropriate personnel as needed or as required by this
        Agreement, and consistently following, applying, or using the policy, procedure, system,
        or other remedial measure.

18.     The term “include” or “including” means “include, but is not limited to” or “including,
        but not limited to.”

19.     The term “Inmate” means any individual detained at, or otherwise housed, held, or
        confined in one of the Facilities.

20.     The term “Isolation” means any type of involuntary confinement in a locked room or cell
        for at least three consecutive hours during the day (excluding overnight lock-in and other
        lock-in periods that are applicable to the general population, such as lock-ins for count,
        shift changes, contraband sweeps, or emergency situations involving security concerns).
        “Isolation” shall not include suicide watch, the confinement of an Inmate to prevent the
        spread of disease, or “Seclusion” in compliance with the procedures set forth in
        40 NYCRR § 2-06.

21.     The term “Monitor” means the person appointed pursuant to this Agreement who shall be
        responsible for assessing compliance with this Agreement.

22.     The term “Non-DOC Staff” or “Non-DOC Staff Member” means any person not
        employed by DOC who is employed by the City or contracted by the City to provide
        medical and/or mental health care, social services, counseling, or educational services to
        Inmates.

23.     The term “Parties” shall refer to the Plaintiff Class, the United States, and Defendants,
        collectively.

24.     The term “Plaintiff Class’s Counsel” means the attorneys representing the Plaintiff Class
        from The Legal Aid Society, Emery Celli Brinckerhoff & Abady, and Ropes &
        Gray LLP.

25.     The term “Plaintiffs’ Counsel” means the United States Attorney’s Office for the
        Southern District of New York, which represents the United States, and Plaintiff Class’s
        Counsel, which represents the Plaintiff Class.

26.     The term “Punitive Segregation” means the segregation of an Inmate from the general
        population pursuant to a disciplinary sanction imposed after a hearing.


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27.     The term “RNDC” means the Robert N. Davoren Complex.

28.     The term “Special Unit” means Enhanced Supervision Housing, Transitional Restorative
        Units, Second Chance Housing, Restrictive Housing Units, and any Punitive Segregation
        or mental health units. This term includes any equivalent future units as established by
        the Department.

29.     The term “Staff” or “Staff Member” means any uniformed individual employed by the
        Department.

30.     The term “Supervisor” means a Staff Member at the rank of Captain or higher.

31.     The term “Use of Force” means an instance where Staff use their hands or other parts of
        their body, objects, instruments, chemical agents, electric devices, firearm, or any other
        physical method to restrain, subdue, or compel an Inmate to act in a particular way, or
        stop acting in a particular way. This term shall not include moving, escorting,
        transporting, or applying restraints to a compliant Inmate.

32.     The term “Use of Force Incident” means any incident in which Staff engages in the Use
        of Force, or is alleged to have engaged in the Use of Force, against an Inmate.

33.     The term “Young Inmate” means any Inmate under the age of 19 years old.

34.     The term “Young Inmate Housing Areas” means all housing areas, including common
        areas within such housing areas, in Facilities used to house Young Inmates.



                                  IV.    USE OF FORCE POLICY

1.      Within 30 days of the Effective Date, in consultation with the Monitor, the Department
        shall develop, adopt, and implement a new comprehensive use of force policy with
        particular emphasis on permissible and impermissible uses of force (“New Use of Force
        Directive”). The New Use of Force Directive shall be subject to the approval of the
        Monitor.

2.      The New Use of Force Directive shall be written and organized in a manner that is clear
        and capable of being readily understood by Staff.

3.      The New Use of Force Directive shall include all of the following:

        a.     A statement at the beginning of the New Use of Force Directive that sets forth the
               following general principles: “(i) the force used shall always be the minimum
               amount necessary, and must be proportional to the resistance or threat
               encountered; (ii) the use of excessive and unnecessary force is expressly
               prohibited; (iii) the Department has a zero tolerance policy for excessive and
               unnecessary force; and (iv) the best and safest way to manage potential Use of
               Force situations is to prevent or resolve them without physical force.”

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  b.    An explicit prohibition on the use of high impact force, including the following
        statement: “(i) strikes or blows to the head, face, groin, neck, kidneys, and spinal
        column; (ii) kicks; and (iii) choke holds, carotid restraint holds, and other neck
        restraints; subject to the following exception: In a situation in which a Staff
        Member or other person is in imminent danger of death or serious bodily injury,
        and where lesser means are impractical or ineffective, Staff Members may use
        any necessary means readily available to stop or control the situation.”

  c.    An explicit prohibition on the following:

        i.      The Use of Force to punish, discipline, assault, or retaliate against an
                Inmate.

        ii.     The Use of Force in response to an Inmate’s verbal insults, threats, or
                swearing.

        iii.    The Use of Force after control of an Inmate has been already established.

        iv.     Subjecting an Inmate to harassment or public humiliation.

        v.      The use of racial, ethnic, or homophobic slurs towards Inmates.

        vi.     Provoking Inmates to commit an assault in order to justify the Use of
                Force.

        vii.    The use of unnecessarily painful escort or restraint techniques.

        viii.   Causing or facilitating inmate-on-inmate violence.

        ix.     Pressuring or coercing Inmates, Staff, or Non-DOC Staff not to report a
                Use of Force Incident.

  d.    An explicit requirement that Staff may use force only when reasonably necessary
        to:

        i.      “Prevent physical harm to Staff, visitors, Inmates, or other persons, as a
                last resort and where there is no practical alternative available;

        ii.     Prevent or stop the commission of crimes, including riot, assault, escape,
                or hostage taking;

        iii.    Enforce Departmental or Facility rules, policies, regulations, and court
                orders where lesser means have proven ineffective and there is an
                immediate need for compliance; or

        iv.     Prevent destruction of property that raises a safety or security risk.”

  e.    An explicit requirement stating that “all force shall cease when control of the
        Inmate has been established.”

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  f.    A requirement that Staff shall summon a Supervisor to the scene as soon as
        possible when there is a Use of Force Incident underway or the potential for the
        Use of Force.

  g.    Clear and adequate direction on when different levels of force and Use of Force
        techniques are permitted, including but not limited to the following requirements:

        i.     Staff shall start with the minimum amount of force that appears reasonable
               and may escalate the force used if necessary to stop or control the Inmate.
               Staff are not obligated to start at the lowest force levels nor to exhaust
               every lesser level in escalating to an effective level. The level of force
               used may increase as the situation becomes more dangerous or threatening
               and decrease as the situation comes under control.

        ii.    The level of force that may be used is determined by the type and amount
               of resistance exhibited by the Inmate.

        iii.   Staff shall first try to defuse the situation by talking to the Inmate, if time
               and circumstances permit.

        iv.    In situations where physical force must be used, Staff shall consider using
               non-contact control techniques, such as hand-held chemical agents or the
               Electronic Mobilization Shield. If other physical force is necessary, Staff
               must consider control holds, pain compliance holds, and take down-
               techniques as the lowest levels of force.

        v.     Only when the options in (g)(iii) and (g)(iv) above are impractical or
               ineffective to immobilize or neutralize an attack or aggression, and subject
               to the provisions of Paragraph 3(b) above, Staff may, as a defensive
               measure, apply a combination of blocks and/or strikes to non-vital areas of
               the Inmate’s body. Blows or strikes shall never be utilized if control
               holds, grasping, or pushing would be effective in restraining an Inmate.

  h.    A requirement that, where practicable, physical force shall not be used until the
        following conditions have been met:

        i.     A warning or command has been given, and if practical, repeated.

        ii.    The Inmate has had time to comply with the warning or command.

        iii.   It appears that the Inmate is going to continue to resist the order or the
               Staff’s effort to control the situation.

        iv.    Additional non-force alternatives, including crisis intervention methods
               and specific defusing techniques, are not reasonably available, or have
               been unsuccessful, and the situation cannot be reasonably allowed to
               continue.


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  i.    A requirement that all Staff and Inmates who used force or upon whom force was
        used shall receive medical attention as soon as possible following any Use of
        Force Incident.

  j.    A requirement that under normal circumstances no Staff involved in a Use of
        Force Incident participate in escorting the Inmate away from the scene, including
        to the medical clinic or holding area. Where practicable, the Staff who escort an
        Inmate shall be Staff who were least directly involved in the Use of Force
        Incident.

  k.    Clear and adequate direction on how to utilize alternative non-forceful methods of
        resolving conflicts and confrontations when circumstances do not require
        immediate physical intervention.

  l.    A statement that “all Staff who witness a clearly excessive Use of Force (e.g.,
        force used for the sole purpose of causing harm) are required to attempt to stop or
        reduce the force being used where practicable and consistent with safety and
        security.”

  m.    A statement that “all Staff have a duty to protect Inmates from harm, and have a
        responsibility to intervene to de-escalate confrontations as soon as it is practicable
        and reasonably safe to do so.”

  n.    Clear and adequate direction on how to conduct an Anticipated Use of Force,
        including but not limited to the following requirements:

        i.     Any Anticipated Use of Force must be under the direction of a Supervisor
               at the scene, who shall continually assess the well-being of both Staff and
               Inmates during the Anticipated Use of Force.

        ii.    No Anticipated Use of Force may occur absent approval from the Tour
               Commander or a higher ranking manager.

        iii.   Staff must utilize appropriate non-force alternatives to attempt to resolve
               the situation before using force.

        iv.    The first Use of Force shall be the use of chemical agents, unless
               circumstances dictate otherwise (e.g., an Inmate due to mental impairment
               is unable to conform to verbal directives). Unless circumstances dictate
               otherwise, Staff shall wait a minimum of 60 - 120 seconds to allow the
               chemical agents to take full effect before applying additional chemical
               agents or initiating some other level of force.

        v.     Prior to the Use of Force, a Supervisor shall confer with a medical care
               staff member to gather pertinent information about the Inmate’s medical
               condition and mental health status to ensure that there are no issues that
               contraindicate the application of any specific type of force.


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        vi.     Prior to the Use of Force, a mental health care professional shall be
                summoned and shall attempt to persuade the Inmate to cooperate. The
                mental health care professional shall document his or her efforts to resolve
                the situation without the Use of Force, the extent to which those efforts
                were successful, and the length of time spent trying to resolve the situation
                without the Use of Force.

        vii.    The Anticipated Use of Force must be videotaped according to specified
                protocols, and the videotape must be properly secured and maintained.

        viii.   Where the Anticipated Use of Force is a cell extraction, the extraction may
                be conducted only by officers who have been trained on the proper
                procedures and protocols to ensure inmate and staff safety.

  o.    Clear and adequate direction on how to reduce the risk of “positional asphyxia”
        during Use of Force Incidents, including but not limited to the following:

        i.      Staff shall attempt to monitor the breathing of any Inmate placed face
                down on the floor or ground in order to apply restraints, and, if an Inmate
                is observed having difficulty breathing, or reports not being able to
                breathe, Staff shall call for medical assistance immediately.

        ii.     As soon as an Inmate is restrained, Staff shall place the Inmate on his or
                her side on the floor or ground, or sitting up, until the Inmate is moved.
                Inmates carried by officers or transported by gurney or stretcher shall be
                placed on their sides if practicable or on their backs as a second choice if
                necessary.

        iii.    If an Inmate is face down on the ground or floor and resisting restraint,
                Staff shall not compress the Inmate’s chest by placing weight on his or her
                upper back.

        iv.     An Inmate’s ability to speak does not mean that he or she has adequate
                oxygen.

  p.    Clear and adequate policy guidance on the proper use of security and therapeutic
        restraints, spit masks, hands-on-techniques, chemical agents, electronic
        immobilizing devices, kinetic energy devices used by the Department, batons, and
        lethal force, including the limited circumstances when such forms of force may be
        used and the precautions that must be taken to ensure the safety of Inmates, Staff,
        and other individuals.

  q.    A requirement that Staff may use only equipment issued and authorized by the
        Department and that Staff must be trained in a particular piece of equipment or
        instrument of force in order to use that equipment or instrument of force, subject
        to the following exception: In a situation in which a Staff Member or other
        person is in imminent danger of death or serious bodily injury, and where
        Department-authorized types and instruments of force are unavailable or

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              inadequate, Staff Members may use any necessary means readily available to stop
              or control the situation.

       r.     A definition of the term “Use of Force” that includes any instance where Staff use
              their hands or other parts of their body, objects, instruments, chemical agents,
              electric devices, firearms, or any other physical methods to restrain, subdue, or
              compel an Inmate to act in a particular way, or stop acting in a particular way.
              The term “Use of Force” does not include moving, escorting, transporting, or
              applying restraints to a compliant Inmate.

       s.     The same definitions of Class A, Class B, and Class C Uses of Force included in
              the Use of Force Directive that existed prior to the Effective Date.

       t.     A statement that “any failure to comply with any provision of the New Use of
              Force Directive may result in discipline up to and including termination.”

4.     After the adoption of the New Use of Force Directive, the Department shall, in
       consultation with the Monitor, promptly advise Staff Members of the content of the New
       Use of Force Directive and of any significant changes to policy that are reflected in the
       New Use of Force Directive.



                      V.      USE OF FORCE REPORTING AND TRACKING

Staff Member Use of Force Reporting
1.     Every Staff Member shall immediately verbally notify his or her Supervisor when a Use
       of Force Incident occurs.
2.     Every Staff Member who engages in the Use of Force, is alleged to have engaged in the
       Use of Force, or witnesses a Use of Force Incident, shall independently prepare and
       submit a complete and accurate written report (“Use of Force Report”) to his or her
       Supervisor.
3.     All Use of Force Reports shall be based on the Staff Member’s personal knowledge and
       shall include the following, to the extent the information is known by the reporting Staff
       Member:
       a.     The date, time, and location of the Use of Force Incident.
       b.     The date and time the Use of Force Report was completed.
       c.     A list of all Staff Members who used force.
       d.     A list of all persons on whom force was used.
       e.     A list of all persons, including Non-DOC Staff Members, who were present when
              the Use of Force Incident occurred.
       f.     A detailed description of the Use of Force Incident, the events preceding the Use
              of Force Incident including any attempts to de-escalate the situation and avoid the


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              Use of Force, and the reasons for engaging in the Use of Force. All reports must
              include a detailed description of the physical resistance exhibited by the Inmate;
              the type and level of force used by the Staff Member writing the report and by all
              other Staff who used force; whether any Staff used instruments or weapons, and if
              so, a description of the circumstances that led to their use; and a descriptions of
              the nature and extent of any visible or apparent injuries sustained by Inmates,
              Staff, or others.
       g.     As to reports prepared by the Captain and the Staff Member(s) responsible for
              escorting the Inmate to the clinic, the approximate time the Inmate was
              transported to receive medical care, and the name of the clinician or medical
              professional who provided care.
       h.     To the extent applicable, the name of any Staff Member who authorized and/or
              supervised the Use of Force Incident.
4.     Staff Members shall prepare and submit their Use of Force Reports as soon as practicable
       after the Use of Force Incident, or the allegation of the Use of Force, and in no event shall
       leave the Facility after their tour without preparing and submitting their Use of Force
       Report, unless the Staff Member is unable to prepare a Use of Force Report within this
       timeframe due to injury or other exceptional circumstances, which shall be documented.
       The Tour Commander’s permission shall be required for any Staff Member to leave the
       Facility without preparing and submitting his or her Use of Force Report. If a Staff
       Member is unable to write a report because of injury, the Staff Member must dictate the
       report to another individual, who must include his or her name and badge number, if
       applicable, in the report.
5.     Staff Members shall not review video footage of the Use of Force Incident prior to
       completing their Use of Force Report. If Staff Members review video footage at a later
       time, they shall not be permitted to change their original Use of Force Report, but may
       submit a supplemental report upon request.
6.     Staff Members shall independently prepare their Use of Force Reports based on their own
       recollection of the Use of Force Incident. Staff Members involved in a Use of Force
       Incident shall not collude with each other regarding the content of the Use of Force
       Reports, and shall be advised by the Department that any finding of collusion will result
       in disciplinary action. Staff Members involved in a Use of Force Incident shall be
       separated from each other, to the extent practicable, while they prepare their Use of Force
       Reports.
7.     Use of Force Reports shall be reviewed by the individual assigned to investigate the Use
       of Force Incident to ensure that they comply with the requirements of Paragraphs 3 - 6
       above, and that there is no evidence of collusion in report writing, such as identical or
       substantially similar wording or phrasing. In the event that there is evidence of such
       collusion, the assigned investigator shall document this evidence and shall undertake
       appropriate investigative or disciplinary measures, which shall also be documented.
8.     Any Staff Member who engages in the Use of Force or witnesses a Use of Force Incident
       in any way and either (a) fails to verbally notify his or her Supervisor, or (b) fails to



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        prepare and submit a complete and accurate Use of Force Report, shall be subject to
        instruction, retraining, or appropriate discipline, up to and including termination.
9.      The Department, in consultation with the Monitor, shall develop, adopt, and implement
        written policies and procedures regarding use of force reporting that are consistent with
        the terms of the Agreement.
Non-DOC Staff Use of Force Reporting
10.     The City shall require that Non-DOC Staff Members who witness a Use of Force Incident
        that results in an apparent injury report the incident in writing directly to the area Tour
        Commander or to a supervisor who is responsible for providing the report to the
        individual responsible for investigating the incident. The City shall clearly communicate
        in writing this reporting requirement to all Non-DOC Staff, and shall advise all Non-
        DOC Staff that the failure to report Use of Force Incidents that result in apparent injuries,
        or the failure to provide complete and accurate information regarding such Use of Force
        Incidents, may result in discipline.
11.     Medical staff shall report either to the Tour Commander, ID, the ICO, the Warden of the
        Facility, or a supervisor whenever they have reason to suspect that an Inmate has
        sustained injuries due to the Use of Force, where the injury was not identified to the
        medical staff as being the result of a Use of Force. The person to whom such report is
        made shall be responsible for relaying the information to ID. ID shall immediately open
        an investigation, to the extent one has not been opened, into the Use of Force Incident
        and determine why the Use of Force Incident went unreported.
12.     Medical staff shall advise a supervisor whenever they have reason to suspect that a Use
        of Force Incident was improperly classified, as those classifications are defined in the
        Department’s Use of Force Directive. The medical staff member’s supervisor shall then
        convey this information to the Tour Commander, who shall be responsible for providing
        the information to the Central Operations Desk (“COD”).
13.     Emergency matters involving an imminent threat to an Inmate’s safety or well‐being may
        be submitted at any time and shall be referred immediately to a Supervisor, who shall
        review the emergency matter with the Tour Commander as quickly as possible. If the
        Tour Commander determines that the safety or well‐being of the Inmate may be in
        danger, the Department shall take any necessary steps to protect the Inmate from harm.
Tracking
14.     Within 30 days of the Effective Date, the Department shall track in a reliable and
        accurate manner, at a minimum, the below information for each Use of Force Incident.
        The information shall be maintained in the Incident Reporting System (“IRS”) or another
        computerized system.
        a.     Use of Force Incident identification number.
        b.     Classification level of the Use of Force Incident, including any changes made to
               the classification level (i.e., Class A, Class B, or Class C).
        c.     Date, time, and location of the Use of Force Incident.



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        d.     Facility that houses each Inmate upon whom force was used or alleged to have
               been used.
        e.     Names and identification numbers of all Inmates upon whom force was used or
               alleged to have been used.
        f.     Names and identification numbers of all Inmates who were present in the area of
               the Use of Force Incident.
        g.     Names and shield numbers of all Staff Members who used, or are alleged to have
               used, force.
        h.     Whether the Use of Force Incident was an Anticipated Use of Force.
        i.     Nature of any injuries sustained by Inmates, Staff Members, or anyone else.
        j.     A brief description of the type of force (e.g., chemical agent, single punch to
               body, control holds, punches to face or head, multiple blows, kicks, use of batons
               or other instruments, etc.) that was used and by whom.
        k.     Whether force was used while the Inmate was in restraints.
        l.     Whether video footage captured the Use of Force Incident and a brief description
               of the camera used (e.g., fixed surveillance, handheld, or body-worn).
        m.     Whether any Inmate was arrested as a result of the Use of Force Incident, and if
               so, a description of the new criminal charges.
        n.     A brief description of the Staff Member’s stated reasons for engaging in the Use
               of Force.
15.     Within 30 days of the Effective Date, the Department shall track in a reliable, accurate,
        and computerized manner, at a minimum, the following information for each Facility
        Investigation (as defined in Paragraph 13 of Section VII (Use of Force Investigations)):
        (a) the Use of Force Incident identification number and Facility; (b) the name of the
        individual assigned to investigate the Use of Force Incident; (c) the date the Facility
        Investigation was commenced; (d) the date the Facility Investigation was completed;
        (e) the findings of the Facility Investigation; (f) whether the Facility recommended Staff
        Member disciplinary action or other remedial measures; and (g) whether the Department
        referred the Use of Force Incident to DOI for further investigation, and if so, the date of
        such referral.
16.     The Department shall track in a reliable, accurate, and computerized manner, at a
        minimum, the following information for each Full ID Investigation (as defined in
        Paragraph 8 of Section VII (Use of Force Investigations)): (a) the Use of Force Incident
        identification number; (b) the name of the individual assigned to investigate the Use of
        Force Incident; (c) the date the Full ID Investigation was commenced; (d) the date the
        Full ID Investigation was completed; (e) the findings of the Full ID Investigation;
        (f) whether ID recommended that the Staff Member be subject to disciplinary action; and
        (g) whether the Department referred the Use of Force Incident to DOI for further
        investigation, and if so, the date of such referral. This information may be maintained in
        the Department’s ID computer tracking systems until the development and



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        implementation of the computerized case management system (“CMS”), as required by
        Paragraph 6 of Section X (Risk Management).
17.     The Department shall track in a reliable, accurate, and computerized manner, at a
        minimum, the following information for each Use of Force Incident in which the
        Department’s Trials & Litigation Division (“Trials Division”) sought disciplinary action
        against any Staff Member in connection with a Use of Force Incident: (a) the Use of
        Force Incident identification number; (b) the charges brought and the disciplinary penalty
        sought at the Office of Administrative Trials and Hearings (“OATH”); and (c) the
        disposition of any disciplinary hearing, including whether the Staff Member entered into
        a negotiated plea agreement, and the penalty imposed. This information may be
        maintained in the computerized tracking system of the Trials Division until the
        development and implementation of CMS, as required by Paragraph 6 of Section X (Risk
        Management).
18.     All of the information concerning Facility Investigations, Full ID Investigations, and
        disciplinary actions set forth in Paragraphs 15, 16, and 17 above shall be tracked in
        CMS, which shall be developed and implemented by December 1, 2016, in accordance
        with Paragraph 6 of Section X (Risk Management). CMS shall be integrated with IRS or
        any other computerized system used to track the Use of Force Incident information set
        forth in Paragraph 14 above, and CMS shall have the capacity to access data maintained
        by that system. In addition, the Department shall track in CMS whether any litigation
        was filed against the Department or the City in connection with a Use of Force Incident
        and the results of such litigation, as well as whether any claim related to a Use of Force
        Incident was settled without the filing of a lawsuit.
19.     The Department also shall track information for each inmate‐on‐inmate fight or assault,
        including but not limited to the names and identification numbers of the Inmates
        involved; the date, time, and location of the inmate‐on‐inmate fight or assault; the nature
        of any injuries sustained by Inmates; a brief description of the inmate‐on‐inmate fight or
        assault and whether a weapon was used; and whether video footage captured the inmate‐
        on‐inmate fight or assault.
20.     Any computerized system used to track the information set forth in Paragraphs 14 – 19
        above, including IRS and CMS, shall have the capability to generate aggregate reports.
        The Department shall utilize these computerized systems and their aggregate reports to
        determine whether there are ways to enhance the quality of inmate supervision or
        oversight of Staff Members, and to identify any systemic patterns associated with Use of
        Force Incidents or inmate-on-inmate fights or assaults, which the Department shall take
        appropriate steps to address in consultation with the Monitor.
21.     Within 60 days of the Effective Date, the Department, in consultation with the Monitor,
        shall review the definitions of the categories of institutional violence data maintained by
        the Department, including all security indicators related to violence (e.g., “allegations of
        Use of Force,” “inmate-on-inmate fight,” “inmate-on-inmate assault,” “assault on Staff,”
        and “sexual assault”) to ensure that the definitions are clear and will result in the
        collection and reporting of reliable and accurate data.




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Prompt Medical Attention Following Use of Force Incident
22.     All Staff Members and Inmates upon whom force is used, or who used force, shall
        receive medical attention by medical staff as soon as practicable following a Use of Force
        Incident. If the Inmate or Staff Member refuses medical care, the Inmate or Staff
        Member shall be asked to sign a form in the presence of medical staff documenting that
        medical care was offered to the individual, that the individual refused the care, and the
        reason given for refusing, if any.
23.     DOC shall record in the Department’s Inmate Information System the time when Inmates
        arrive at the medical clinic following a Use of Force Incident, the time they were
        produced to a clinician, and the time treatment was completed. DOC shall record which
        Staff Members were in the area to receive post-incident evaluation or treatment.


                           VI.      ANONYMOUS REPORTING SYSTEM

1.      The Department, in consultation with the Monitor, shall establish a centralized system
        pursuant to which Staff Members can anonymously report to ID information that Staff
        Members violated the Department’s use of force policies. ID shall initiate a Preliminary
        Review in accordance with Paragraph 7 of Section VII (Use of Force Investigations) into
        any such allegations within 3 Business Days after receiving the anonymous report.



                             VII.   USE OF FORCE INVESTIGATIONS

General Provisions
1.      As set forth below, the Department shall conduct thorough, timely, and objective
        investigations of all Use of Force Incidents to determine whether Staff engaged in the
        excessive or unnecessary Use of Force or otherwise failed to comply with the New Use
        of Force Directive. At the conclusion of the investigation, the Department shall prepare
        complete and detailed reports summarizing the findings of the investigation, the basis for
        these findings, and any recommended disciplinary actions or other remedial measures.
        All investigative steps shall be documented.
2.      Inmate Interviews. The Department shall make reasonable efforts to obtain each
        involved Inmate’s account of a Use of Force Incident, including Inmates who were the
        subject of the Use of Force and Inmates who witnessed the Use of Force Incident. The
        Department shall not discredit Inmates’ accounts without specifying a basis for doing so.
        a.     After an Inmate has been taken for a medical assessment and treatment following
               a Use of Force Incident, an Assistant Deputy Warden shall give the Inmate an
               opportunity to provide an audio recorded statement describing the events that
               transpired, which shall be reviewed as part of the investigation of the incident.
        b.     When requesting an Inmate’s statement or interview, the Department shall assure
               the Inmate that the Inmate will not be subject to any form of retaliation for
               providing information in connection with the investigation. Requests for
               statements or interviews shall be made off the living unit and shall not be made

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              within sight or hearing of other Inmates or Staff involved in the Use of Force
              Incident. Inmate interviews shall be conducted in a private and confidential
              setting.
       c.     All efforts to obtain Inmate statements shall be documented in the investigation
              file, and refusals to provide such statements shall be documented as well.
3.     The Department shall promptly refer any Use of Force Incident to DOI for further
       investigation when the conduct of Staff appears to be criminal in nature.
4.     Any Staff Member found to have conducted a biased, incomplete, or inadequate
       investigation of a Use of Force Incident, and any Supervisor or manager who reviewed
       and approved such an investigation, shall be subject to appropriate discipline, instruction,
       or counseling.
5.     The Department shall properly classify each Use of Force Incident as a Class A, Class B,
       or Class C Use of Force, as those categories are defined in the Department’s Use of Force
       Directive, based on the nature of any inmate and staff injuries and medical reports. Any
       Use of Force Incident initially designated as a Class P shall be classified as Class A,
       Class B, or Class C within five days of the Use of Force Incident. If not classified within
       5 days of the Use of Force Incident, the person responsible for the classification shall
       state in writing why the Use of Force Incident has not been classified and the incident
       shall be reevaluated for classification every seven days thereafter until classification
       occurs.
6.     Within 60 days of the Effective Date, the Department, in consultation with the Monitor,
       shall institute a six-month pilot program to video record interviews conducted in
       connection with investigations of Use of Force Incidents (“Interview Video Recording
       Pilot”). Within 60 days of the completion of the Interview Video Recording Pilot, the
       Deputy Commissioner of ID (“DCID”) shall prepare and provide to the Commissioner
       and the Monitor a report evaluating the results of the Interview Video Recording Pilot,
       including whether video recording interviews enhanced the quality of investigations, any
       logistical challenges that were identified, and any other benefits or weaknesses associated
       with the use of video to record the interviews. The Department, in consultation with the
       Monitor, shall then determine whether the Department shall require the video recording
       of interviews conducted in connection with investigations of Use of Force Incidents,
       instead of the audio recording of such interviews.
7.     Preliminary Reviews: Within two Business Days of any Use of Force Incident, a member
       of ID shall conduct a preliminary review into the incident (“Preliminary Review”) to
       determine: (i) whether the incident falls within the categories set forth in Paragraph 8
       below and thus requires a Full ID Investigation (as defined in Paragraph 8 below);
       (ii) whether other circumstances exist that warrant a Full ID Investigation of the incident;
       (iii) whether any involved Staff Member(s) should be re-assigned to positions with no
       inmate contact or placed on administrative leave with pay pending the outcome of a full
       investigation based on the nature of the Staff’s conduct; (iv) whether the matter should be
       immediately referred to DOI due to the potential criminal nature of the Staff’s conduct;
       (v) whether the matter should be immediately referred to DOI due to the potential
       criminal nature of the Inmate’s conduct; and (vi) whether it is not necessary for the


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  Facility to take any additional investigative steps because the incident meets criteria set
  forth in subparagraph (e) below.
  a.      The individual responsible for conducting the Preliminary Review (“Preliminary
          Reviewer”) shall review the following: (i) the relevant video footage of the Use of
          Force Incident, including footage from fixed surveillance cameras and handheld
          or body-worn cameras; (ii) Use of Force Reports from Staff; (iii) interviews
          and/or written statements from the Inmate(s) subject to the Use of Force or
          alleged Use of Force; (iv) interviews and/or written statements from Inmates or
          civilian staff who witnessed the incident; (v) Injury-to-Inmate Reports; (vi)
          photographs of Inmates and Staff Members that were taken after the Use of Force
          Incident; and (vii) reports reflecting any injuries to Staff Members. In the event
          that the Inmate(s) subject to the Use of Force or alleged Use of Force has declined
          to provide a statement to the Facility, the Preliminary Reviewer shall attempt to
          interview the Inmate(s) concerning the Use of Force Incident.
  b.         The Preliminary Reviewer shall confirm that the Use of Force Incident is properly
             classified as a Class A, Class B, or Class C Use of Force.
  c.      To the extent any factual inaccuracies in the information required to be
          maintained under Paragraph 14(a) - (m) of Section V (Use of Force Reporting and
          Tracking) are identified during the course of the Preliminary Review, the
          information shall be corrected or updated in IRS.
  d.          The Preliminary Reviewer shall document the results of the Preliminary Review.
  e.      Under limited circumstances, the Preliminary Reviewer may determine that his or
          her review is sufficient and it is not necessary to take any additional investigative
          steps. The Preliminary Reviewer may make this determination only if the
          following criteria are clearly met and documented, and this determination is
          reviewed and approved by a supervisor in ID:
         i.          No Staff Member, Inmate, or other person sustained any injury, and the
                     Inmate who was subjected to the Use of Force did not allege any pain.
        ii.          Any resistance by the Inmate was passive.
       iii.          Staff Members had only minimal physical contact with the Inmate, using
                     only soft hand controls.
       iv.           The Use of Force Incident did not involve the use of weapons, including
                     OC spray.
        v.           There was an immediate need for the Inmate to comply with Departmental
                     or Facility rules, policies, regulations, or court orders, and non-force
                     alternatives had proven ineffective.
       vi.           The descriptions of the Use of Force Incident included in the Use of Force
                     Reports submitted by Staff Members were consistent with the affirmative
                     statement by the Inmate who was subjected to the Use of Force and all
                     other evidence.



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            vii.         Based on the Preliminary Review, the Use of Force was minimal,
                         reasonably necessary, and clearly consistent with the New Use of Force
                         Directive.
Investigation Division
8.     ID shall conduct a full investigation (“Full ID Investigation”) into any Use of Force
       Incident that involves: (a) conduct that is classified as a Class A Use of Force, and any
       complaint or allegation that, if substantiated, would be classified as a Class A Use of
       Force; (b) a strike or blow to the head of an Inmate, or an allegation of a strike or blow to
       the head of an Inmate; (c) kicking, or an allegation of kicking, an Inmate; (d) the use, or
       alleged use, of instruments of force, other than the use of OC spray; (e) a Staff Member
       who has entered into a negotiated plea agreement or been found guilty before OATH for
       a violation of the Use of Force Policy within 18 months of the date of the Use of Force
       Incident, where the incident at issue involves a Class A or Class B Use of Force or
       otherwise warrants a Full ID Investigation; (f) the Use of Force against an Inmate in
       restraints; (g) the use of a prohibited restraint hold; (h) an instance where the incident
       occurred in an area subject to video surveillance but the video camera allegedly
       malfunctioned; (i) any unexplained facts that are not consistent with the materials
       available to the Preliminary Reviewer; or (j) a referral to ID by a Facility for another
       reason that similarly warrants a Full ID Investigation. Such Use of Force Incidents shall
       be referred to ID within two Business Days of the incident. In the event that information
       is obtained later establishing that a Use of Force Incident falls within the aforementioned
       categories, the Use of Force Incident shall be referred to ID within two days after such
       information is obtained. ID shall promptly notify the Facility if it is going to conduct a
       Full ID Investigation of a Use of Force Incident, at which time the Facility shall
       document the date and time of this notification and forward any relevant information
       regarding the incident to ID.
9.     All Full ID Investigations shall satisfy the following criteria:
       a.      Timeliness.
               i.        Beginning on the Effective Date and for three years following the
                         Effective Date, or until October 1, 2018, whichever is earlier:
                         1.     ID shall complete all Full ID Investigations by no later than 180
                                days from the date the Use of Force Incident was referred to ID
                                (“Referral Date”), absent extenuating circumstances outside the
                                Department’s control that warrant an extension of this deadline.
                                Any extension of the 180-day deadline shall be documented and
                                subject to approval by the DCID or a designated Assistant
                                Commissioner. Any Full ID Investigation commenced after the
                                Effective Date that is open for more than 180 days shall be subject
                                to monthly reviews by the DCID or a designated Assistant
                                Commissioner to determine the status of the investigation and
                                ensure that all reasonable efforts are being made to expeditiously
                                complete the investigation.



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               2.      The Department shall make every effort to complete Full ID
                       Investigations of less complex cases within a significantly shorter
                       period than the 180-day time frame set forth in the preceding
                       subparagraph.
        ii.    Beginning on October 1, 2018, or three years after the Effective Date,
               whichever is earlier, and for the duration of the Agreement:
               1.      ID shall complete all Full ID Investigations by no later than 120
                       days from the Referral Date, absent extenuating circumstances
                       outside the Department’s control that warrant an extension of this
                       deadline. Any extension of the 120-day deadline shall be
                       documented and subject to approval by the DCID or a designated
                       Assistant Commissioner. Any Full ID Investigation that is open
                       for more than 120 days shall be subject to monthly reviews by the
                       DCID or a designated Assistant Commissioner to determine the
                       status of the investigation and ensure that all reasonable efforts are
                       being made to expeditiously complete the investigation.
               2.      The Department shall make every effort to complete Full ID
                       Investigations of less complex cases within a significantly shorter
                       period than the 120-day time frame set forth in the preceding
                       subparagraph.
        iii.   In the event that a Use of Force Incident is referred to DOI, or following
               the further referral by DOI to the District Attorney’s Office (“DA”) or
               another outside law enforcement agency, for investigation or a decision on
               immunity, the time period for the Department to complete the Full ID
               Investigation shall be tolled while the other agency is investigating the
               matter or making a decision on immunity. ID shall on at least a monthly
               basis contact DOI to monitor the status of investigations referred to other
               law enforcement agencies.
  b.    Video Review. The assigned ID Investigator (“ID Investigator”) shall review all
        relevant video footage of the Use of Force Incident, including footage from fixed
        surveillance cameras and handheld or body-worn cameras, and shall summarize
        the relevant video footage and explain whether the footage is consistent with
        witness reports. The ID Investigator shall document any non-functioning
        cameras, any unavailable video footage, or any other barrier to reviewing all
        relevant video footage. In the event that no or only incomplete video surveillance
        can be located even though the Use of Force Incident took place at a location
        under video surveillance, ID shall investigate why no or only incomplete video
        surveillance can be located, and document its findings.
  c.    Witness Interviews. The ID Investigator shall interview all relevant witnesses,
        including the Inmate(s) subject to the alleged Use of Force, Staff alleged to have
        been involved in the Use of Force Incident, and Inmates, Staff, or civilian staff
        who witnessed the incident. However, in situations in which there is a large
        number of witnesses and interviewing all such persons is likely to be duplicative
        and unduly burdensome, the ID Investigator shall interview a reasonable number

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        of such witnesses. All witness interviews shall be audio recorded or video
        recorded.
           i.   The Inmate(s) who were subject to the alleged Use of Force shall be
                interviewed within two weeks of the Referral Date, absent unusual
                circumstances that shall be documented in the investigation file and
                reviewed by a Supervisor. The ID Investigator shall attempt to interview
                the Inmate even if the Inmate declined to be interviewed previously,
                except if the Inmate has been criminally charged in connection with the
                Use of Force Incident and has declined to be interviewed for that reason.
          ii.   All interviews of Staff involved in the Use of Force Incident shall be
                completed within 30 days of immunity grants from the Trials Division,
                DOI, or DA, absent unusual circumstances that shall be documented in the
                file and reviewed by a Supervisor.
         iii.   Interviews shall be conducted of any Staff Member who submits a written
                report stating that he or she did not observe any Use of Force where there
                is reason to believe the Staff Member was in close proximity to the
                location of the incident and should have observed what occurred.
         iv.    If a decision is made not to interview a witness, the basis for that decision
                shall be documented in the investigation file.
          v.    ID shall conduct its own independent interview of a witness even if the
                Facility previously interviewed the witness.
  d.    Review of Medical Evidence. The ID Investigator shall take reasonable steps to
        obtain in a timely manner relevant medical records for any Inmate or Staff
        Member injured during a Use of Force Incident. Such steps shall include timely
        seeking a medical release from the injured person(s). The ID Investigator shall
        review the medical records to determine whether they are consistent with video
        surveillance, witness accounts, and other evidence, and take reasonable steps to
        reconcile any inconsistencies. A report from the New York City Office of Chief
        Medical Examiner shall be obtained when necessary to determine the cause of an
        injury or address complex forensic questions.
  e.    Report. At the conclusion of his or her investigation, the ID Investigator shall
        prepare a complete and detailed report summarizing the findings of the
        investigation, the basis for these findings, and any recommended disciplinary
        actions or other remedial measures (“ID Closing Memorandum”). The ID
        Closing Memorandum shall set forth all the evidence gathered during the
        investigation, state whether Staff engaged in excessive or unnecessary Use of
        Force or otherwise failed to comply with the New Use of Force Directive, and
        explain how any conclusions and recommendations are supported by the
        evidence. If an Inmate’s prior infraction or criminal history, or a Staff Member’s
        Use of Force or disciplinary history, is included in the ID Closing Memorandum,
        its effect, if any, on the conclusion in the ID Closing Memorandum shall be
        documented. Where there are inconsistencies between different pieces of



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               evidence such as witness statements, the report shall adequately explain the basis
               for crediting one source of evidence over another.
        f.     Supervisory Review. All ID reports shall be reviewed by the ID Investigator’s
               supervisor to ensure that they comply with the terms of this Agreement and other
               applicable Department procedures and requirements. The supervisor shall address
               any aspect of the ID Closing Memorandum or ID Full Investigation that does not
               comply with the terms of this Agreement and other applicable Department
               procedures and requirements. The name of the supervisor who conducts this
               review, the date of the review, and the findings of the review shall be documented
               in the file.
10.     The Department shall consult with the Monitor to develop a plan to effectively and
        efficiently complete all ID Use of Force investigations and reviews that are outstanding
        as of the Effective Date. Those ID Use of Force investigations and reviews involving the
        categories of Use of Force Incidents set forth in Paragraph 8 above that are outstanding as
        of the Effective Date and have been open for more than six months shall be completed
        within 120 days of the Effective Date. All other ID Use of Force investigations and
        reviews involving the categories of Use of Force Incidents set forth in Paragraph 8 above
        that are outstanding as of the Effective Date shall be completed within 180 days of the
        Effective Date. These deadlines may not be extended absent extenuating circumstances
        outside the Department’s control.
        a.     Any extension of these deadlines shall be documented and subject to approval by
               the DCID or a designated Assistant Commissioner. In the event a deadline is
               extended, the investigation shall be subject to monthly reviews by the DCID or a
               designated Assistant Commissioner to determine the status of the investigation
               and ensure that all reasonable efforts are being made to expeditiously complete
               the investigation.
        b.     In the event that the Use of Force Incident that is the subject of an ID Use of
               Force investigation or review outstanding as of the Effective Date has been or is
               referred to DOI, or following the further referral by DOI to the DA or another
               outside law enforcement agency, for investigation or a decision on immunity, the
               time period for the Department to complete the investigation or review shall be
               tolled while the other agency is investigating the matter or making a decision on
               immunity.
11.     The Department, if necessary, shall hire a sufficient number of additional qualified ID
        Investigators to maintain ID Investigator caseloads at reasonable levels so that they can
        complete Full ID Investigations in a manner that is consistent with this Agreement,
        including by seeking funding to hire additional staff as necessary.
12.     Within 90 days of the Effective Date, in consultation with the Monitor, the Department
        shall develop and implement quality control systems and procedures to ensure the quality
        of ID investigations and reviews. These systems and procedures shall be subject to the
        approval of the Monitor.




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Facility Investigations
13.     All Use of Force Incidents not subject to a Full ID Investigation shall be investigated by
        the Facility where the incident is alleged to have occurred or where the Inmate(s) subject
        to the Use of Force is housed. All investigations conducted by the Facility (“Facility
        Investigations”) shall satisfy the following criteria, provided that the Facility may close
        its investigation if the Preliminary Reviewer determines based on the Preliminary Review
        that it is not necessary for the Facility to take any additional investigative steps because
        all of the criteria set forth in Paragraph 7(e) above are satisfied, in which case the
        Preliminary Reviewer’s documented determination would serve as a substitute for the
        Facility Report referenced in subparagraph (f) below.
        a.     Objectivity. The individual(s) responsible for investigating the Use of Force
               Incident (“Facility Investigator”) must be objective. The Facility Investigator
               must be a Captain (or higher ranking officer) who did not witness the Use of
               Force Incident, participate in the Use of Force Incident, or authorize the Use of
               Force. In addition, the Facility Investigator may not be someone who directly
               supervises any Staff alleged to have used force during the incident.
        b.     Timeliness. The investigation shall be completed within 25 Business Days of the
               date the incident occurred, absent unusual circumstances warranting an extension
               of this deadline. In the event that such unusual circumstances exist, the Facility
               Investigator shall document the circumstances and this documentation shall be
               reviewed and approved by the Deputy Warden or Warden (or other official of
               higher rank). Any Facility Investigation commenced after the Effective Date that
               is open for more than 25 Business Days shall be subject to weekly reviews by the
               Deputy Warden (or other official of higher rank) to determine the status of the
               investigation and ensure that all reasonable efforts are being made to
               expeditiously complete the investigation.
        c.     Video Review. The Facility Investigator shall collect and review all relevant
               video footage of the Use of Force Incident, including footage from fixed
               surveillance cameras and handheld or body-worn cameras, and shall summarize
               the video footage and explain whether the footage is consistent with witness
               reports. The Facility Investigator shall document any non-functioning cameras,
               any unavailable video footage, or any other barrier to reviewing all relevant video
               footage. In the event that no video surveillance can be located even though the
               Use of Force Incident took place at a location under video surveillance, the
               Facility Investigator shall investigate why no video surveillance can be located
               and document his or her findings.
        d.     Witness Statements. The Facility Investigator shall obtain written statements from
               all relevant witnesses, including the Inmate(s) subject to the alleged Use of Force,
               Staff alleged to have been involved in the Use of Force Incident, and Inmates,
               Staff, or civilian staff who witnessed the incident. In the event that Inmates are
               unwilling to provide written statements but are willing to provide information
               verbally, the Facility Investigator shall document whatever information is
               provided verbally. With the exception of Staff, the Facility Investigator also shall
               seek to interview all relevant witnesses, including Inmates, as soon as practicable


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        after the Use of Force Incident. However, in situations in which there are a large
        number of witnesses and interviewing all such persons is likely to be duplicative
        and unduly burdensome, the Facility Investigator shall interview a reasonable
        number of such witnesses.
  e.    Collection and Review of Medical Evidence. At least four color digital
        photographs of each Inmate involved in the Use of Force Incident, capturing any
        visible injuries, shall be taken shortly after the Use of Force Incident, unless the
        Inmate refuses to be photographed, in which case such refusal shall be
        documented. Color photographs also shall be taken of Staff Members who
        sustained injuries during the Use of Force Incident. Injury-to-Inmate Reports
        shall be completed by medical staff and included in the investigation file. The
        Facility Investigator shall determine whether the available medical information is
        consistent with video surveillance, witness accounts, and other evidence, and take
        reasonable steps to reconcile any inconsistencies. Based on the review of the
        medical evidence, the Facility Investigator shall confirm that the Use Force
        Incident is appropriately classified. To the extent that the Facility Investigator
        concludes that the Use of Force Incident is misclassified, or that subsequently
        obtained information warrants a different classification, the Facility Investigator
        shall notify the Tour Commander, who shall notify COD accordingly. COD shall
        reclassify the incident promptly upon notification. If the Facility Investigator
        determines that the Use of Force Incident merits a Class A classification, the
        Facility Investigator shall note this change in writing and promptly refer the
        matter to ID.
  f.    Report. At the conclusion of his or her investigation, the Facility Investigator
        shall prepare a complete and detailed report summarizing the findings of the
        investigation and the basis for these findings (“Facility Report”). The Facility
        Report shall set forth all the evidence gathered during the investigation, state
        whether Staff engaged in excessive or unnecessary Use of Force or otherwise
        failed to comply with the New Use of Force Directive, and explain how any
        conclusions and recommendations are supported by such evidence. If an Inmate’s
        prior infraction or criminal history, or a Staff Member’s Use of Force or
        disciplinary history, is included in the Facility Report, its effect, if any, on the
        conclusion of the Facility Report shall be documented. Where there are
        inconsistencies between different pieces of evidence such as witness statements,
        the Facility Report shall adequately explain the basis for crediting one source of
        evidence over another or any other way in which inconsistencies have been
        reconciled.
  g.    Supervisory Review. All Facility Reports shall be reviewed by the Deputy
        Warden and the Warden to ensure that they comply with the terms of this
        Agreement and other applicable procedures and requirements. The Deputy
        Warden and the Warden (or official of higher rank) shall document whether they
        concur with the conclusions of the Facility Investigator, and whether the Use of
        Force Incident has been appropriately classified, and shall document in the
        Facility Report whether they recommend disciplinary actions or other remedial
        measures.

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        h.     Recommended Disciplinary Action. In the event that the Facility Investigation
               determines that a Staff Member has engaged in excessive or unnecessary Use of
               Force or otherwise engaged in a material violation of the New Use of Force
               Directive, the matter shall be referred to the Trials Division for further action as
               required by Paragraph 3 of Section VIII (Staff Discipline and Accountability).
        i.     Referral to ID. In the event that any information is gathered during the course of
               a Facility Investigation establishing that a Full ID Investigation is required
               pursuant to Paragraph 8 above, the matter shall be referred to ID within two
               Business Days.
        j.     Role of Integrity Control Officer. An ICO from ID shall be assigned to each
               Facility. For each Facility, the ICO shall be responsible for reviewing all Facility
               Investigations of Class B Use of Force Incidents, and 20% of Facility
               Investigations of Class C Use of Force Incidents, to ensure that they are thorough
               and comply with the criteria set forth in this Paragraph. The ICO’s review shall
               include a determination as to whether the Facility Investigator has collected all
               relevant material and evidence necessary for the Facility Investigation, and
               whether the Use of Force Incident was properly classified. The ICO shall also
               determine whether the Facility Investigator’s findings are supported by the
               evidence, and whether additional investigatory steps are necessary. The ICO shall
               document the results of his or her review. The Department may assign additional
               investigators from ID to assist the assigned Facility ICO, as needed.
Investigation of Use of Force Incidents Involving Inmates Under the Age of 18
14.     The Department shall maintain a designated ID team (“Youth ID Team”) to investigate or
        review all Use of Force Incidents involving Inmates who are under the age of 18 at the
        time of the incident. The Youth ID Team shall be staffed with one Supervisor, and an
        appropriate number of qualified and experienced investigators.
        a.     The Youth ID Team shall conduct Full ID Investigations of all Use of Force
               Incidents involving Inmates under the age of 18 that fall within the categories
               specified in Paragraph 8 above.
        b.     The Youth ID Team shall review all Facility Investigations of any other Use of
               Force Incidents involving Inmates under the age of 18 to ensure that they were
               conducted in a manner consistent with the requirements of Paragraph 13 above.
Policies and Training
15.     Within 60 days of the Effective Date, the Department, in consultation with the Monitor,
        shall review and revise any policies relating to the investigation of Use of Force Incidents
        to ensure that they are consistent with the terms of this Agreement.
16.     The Department shall develop and implement a standardized system and format for
        organizing the contents of investigation files. Each investigation file shall include at least
        the following: (a) all Use of Force Reports and witness statements; (b) written
        summaries, transcripts, and recordings of any witness interviews; (c) copies of any video
        footage and a written summary of video footage; (d) the Injury-to-Inmate Report;
        (e) relevant medical records (if applicable); (f) color photographs of any Inmate or Staff
        injuries; (g) the report summarizing the findings of the investigation, the basis for these

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       findings, and any recommended disciplinary or other remedial measures, as well as
       documentation reflecting supervisory review and approval of this report; (h) records
       reflecting any disciplinary action taken with respect to any Staff Member or Inmate in
       connection with the incident; and (i) records of any other investigative steps taken.

                       VIII. STAFF DISCIPLINE AND ACCOUNTABILITY

1.     The Department shall take all necessary steps to impose appropriate and meaningful
       discipline, up to and including termination, for any Staff Member who violates
       Department policies, procedures, rules, and directives relating to the Use of Force,
       including but not limited to the New Use of Force Directive and any policies, procedures,
       rules, and directives relating to the reporting and investigation of Use of Force Incidents
       and video retention (“UOF Violations”).

2.     Within 60 days of the Effective Date, the Department shall work with the Monitor to
       develop and implement functional, comprehensive, and standardized disciplinary
       guidelines designed to impose appropriate and meaningful discipline for Use of Force
       Violations (the “Disciplinary Guidelines”). The Disciplinary Guidelines shall set forth
       the range of penalties that the Department will seek to impose for different categories of
       UOF Violations, and shall include progressive disciplinary sanctions. The Disciplinary
       Guidelines shall not alter the burden of proof in employee disciplinary proceedings or
       under applicable laws and regulations. The Department shall act in accordance with the
       Disciplinary Guidelines.

       a.     The Disciplinary Guidelines shall include the range of penalties that the
              Department will seek in discipline matters including those before OATH and the
              aggravating and mitigating factors to be taken into account in determining the
              specific penalty to seek.

       b.     The Disciplinary Guidelines shall include the range of penalties that the
              Department will seek in discipline matters including those before OATH against
              Supervisors in cases where, as a result of inadequate supervision, Staff Members
              are found to have engaged in UOF Violations. These penalty ranges shall be
              consistent with the Department’s commitment to hold Supervisors, regardless of
              their rank, accountable for culpability in the chain of command.

       c.     The Disciplinary Guidelines shall state that the misconduct referenced in
              subparagraphs (i) and (ii) below will result in the Department taking all necessary
              steps to seek a penalty ranging from, at a minimum either a 30-day suspension
              without pay (a portion of the 30 days may consist of the loss of accrued vacation
              days), or a 15-day suspension without pay plus a one-year probation period as
              agreed to by the Staff Member, up to and including termination. If the penalty
              imposed is a 15-day suspension without pay plus a one-year probation period, the
              terms of the probation shall specify that any Use of Force Violation or significant
              policy violation will result in termination.



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        i.     Deliberately providing materially false information in a Use of Force
               Report or during an interview regarding a Use of Force Incident.

        ii.    Deliberately failing to report Use of Force by a Staff Member.

        iii.   The Disciplinary Guidelines shall provide that the Department will take all
               necessary steps to seek such penalties against Staff Members who have
               engaged in the above-referenced misconduct unless the Commissioner,
               after personally reviewing the matter, makes a determination that
               exceptional circumstances exist that would make such a penalty an unjust
               sanction for the Staff Member. Any such determination shall be
               documented by the Commissioner and provided to the Monitor.

  d.    The Disciplinary Guidelines shall state that the misconduct referenced in
        subparagraphs (i) - (iii) below will result in the Department taking all necessary
        steps to seek termination of the Staff Member.

        i.     Deliberately striking or using chemical agents on an Inmate in restraints,
               in a manner that poses a risk of serious injury to the Inmate, except in
               situations where the Staff Member’s actions were objectively reasonable
               in light of the facts and circumstances confronting the Staff Member.

        ii.    Deliberately striking or kicking an Inmate in the head, face, groin, neck,
               kidneys, or spinal column, or utilizing choke holds, carotid restraint holds,
               or other neck restraints, in a manner that is punitive, retaliatory, or
               designed to inflict pain on an Inmate, and constitutes a needless risk of
               serious injury to an Inmate.

        iii.   Causing or facilitating an inmate-on-inmate assault or fight, or allowing an
               inmate-on-inmate assault or fight to continue where it is clearly safe to
               intervene, in order to punish, discipline, or retaliate against an Inmate or as
               a means to control or maintain order in any area of a Facility.

        iv.    The Disciplinary Guidelines shall provide that the Department will take all
               necessary steps to seek the termination of Staff Members who have
               engaged in the above-referenced misconduct unless the Commissioner,
               after personally reviewing the matter, makes a determination that
               exceptional circumstances exist that would make termination an unjust
               sanction for the Staff Member. Any such determination shall be
               documented by the Commissioner and provided to the Monitor.

  e.    If the Preliminary Review set forth in Paragraph 7 of Section VII (Use of Force
        Investigations) results in a determination that a Staff Member has more likely than
        not engaged in the categories of misconduct set forth in subparagraphs (d)(i) –(iii)
        above, the Department will effectuate the immediate suspension of such Staff
        Member, and, if appropriate, modify the Staff Member’s assignment so that he or
        she has minimal inmate contact, pending the outcome of a complete investigation.
        Such suspension and modification of assignment shall not be required if the

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              Commissioner, after personally reviewing the matter, makes a determination that
              exceptional circumstances exist that would make suspension and the modification
              of assignment unjust, which determination shall be documented and provided to
              the Monitor.

3.     In the event an investigation related to the Use of Force finds that a Staff Member
       committed a UOF Violation:

       a.     If the investigation was conducted by the ID, the DCID or a designated Assistant
              Commissioner shall promptly review the ID Closing Memorandum and any
              recommended disciplinary charges and decide whether to approve or to decline to
              approve any recommended discipline within 30 days of receiving the ID Closing
              Memorandum. If the DCID or a designated Assistant Commissioner ratifies the
              investigative findings and approves the recommended disciplinary charges, or
              recommends the filing of lesser charges, he or she shall promptly forward the file
              to the Trials Division for prosecution. If the DCID or a designated Assistant
              Commissioner declines to approve the recommended disciplinary charges, and
              recommends no other disciplinary charges, he or she shall document the reasons
              for doing so, and forward the declination to the Commissioner or a designated
              Deputy Commissioner for review, as well as to the Monitor.

       b.     If the investigation was not conducted by ID, the matter shall be referred directly
              to the Trials Division.

       c.     The Trials Division shall prepare and serve charges that the Trials Division
              determines are supported by the evidence within a reasonable period of the date
              on which it receives a recommendation from the DCID (or a designated Assistant
              Commissioner) or a Facility, and shall make best efforts to prepare and serve such
              charges within 30 days of receiving such recommendation. The Trials Division
              shall bring charges unless the Assistant Commissioner of the Trials Division
              determines that the evidence does not support the findings of the investigation and
              no discipline is warranted, or determines that command discipline or other
              alternative remedial measures are appropriate instead. If the Assistant
              Commissioner of the Trials Division declines to bring charges, he or she shall
              document the basis for this decision in the Trials Division file and forward the
              declination to the Commissioner or designated Deputy Commissioner for review,
              as well as to the Monitor. The Trials Division shall prosecute disciplinary cases
              as expeditiously as possible, under the circumstances.

4.     The Department shall staff the Trials Division sufficiently to allow for the prosecution of
       all disciplinary cases as expeditiously as possible and shall seek funding to hire additional
       staff if necessary.

5.     The Trials Division shall negotiate plea dispositions and make recommendations to
       OATH judges consistent with the Disciplinary Guidelines. Negotiated pleas shall not be
       finalized until they have been approved by the DOC General Counsel, or the General
       Counsel’s designee, and the Commissioner.


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                                IX.     VIDEO SURVEILLANCE
1.     Stationary Camera Installation
       a.     At least 7,800 additional stationary, wall-mounted surveillance cameras shall be
              installed in the Facilities by February 28, 2018.
               i.    At least 25% of these additional cameras shall be installed by July 1, 2016.
              ii.    At least 50% of these additional cameras shall be installed by February 1,
                     2017.
             iii.    At least 75% of these additional cameras shall be installed by July 1, 2017.
       b.     The Department shall install stationary, wall-mounted surveillance cameras in all
              areas of RNDC accessible to Inmates under the age of 18 and in all housing areas
              of Facilities that house 18-year olds in accordance with the timelines as set forth
              in Paragraphs 10 and 11 of Section XV (Safety and Supervision of Inmates Under
              the Age of 19).
       c.     The Department shall install stationary, wall-mounted surveillance cameras to
              ensure Complete Camera Coverage of all areas of all Facilities by February 28,
              2018. When determining the schedule for the installation of cameras in the
              Facilities, the Department agrees to seek to prioritize those Facilities with the
              most significant levels of violence. The Department intends to prioritize the
              installation of cameras as follows:
               i.    First Wave: Robert N. Davoren Complex, George R. Vierno Center, and
                     George Motchan Detention Center.
              ii.    Second Wave: Anna M. Kross Center, Vernon C. Bain Center, Otis
                     Bantum Correctional Center, and Eric M. Taylor Center.
             iii.    Third Wave: Queens Detention Complex, West Facility, North Infirmary
                     Command, Brooklyn Detention Complex, Manhattan Detention Complex,
                     Rose M. Singer Center, and Donald J. Cranston Judicial Center.
             iv.     The Department may revise the order of the Facilities in which the
                     additional stationary, wall-mounted cameras will be installed based on the
                     operational and security needs of the Department. Any such revisions
                     shall be discussed during the meetings of the Department’s internal
                     working group referenced in subparagraph 1(e) below.
       d.     Beginning February 28, 2018, if the Department or the Monitor determines that a
              Use of Force Incident was not substantially captured on video due to the absence
              of a wall-mounted surveillance camera in an isolated blind spot, such information
              shall be documented and provided to the Monitor and, to the extent feasible, a
              wall-mounted surveillance camera shall be installed to cover that area within a
              reasonable period of time.
       e.     The Monitor and Plaintiffs’ Counsel will be invited to participate in meetings of
              the Department’s internal camera working group, which determines the
              prioritization and timeline for the installation of additional cameras in the
              Facilities.

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2.     Body-worn and Handheld Cameras

       a.    Within one (1) year of the Effective Date, the Department shall institute a pilot
             project in which 100 body-worn cameras will be worn by Staff Members over all
             shifts. They shall be worn by Staff Members assigned to the following areas:
             (i) intake; (ii) mental health observation; (iii) Punitive Segregation units; (iv)
             Young Inmate Housing Areas; and (v) other areas with a high level of violence or
             staff-inmate contact, as determined by the Department in consultation with the
             Monitor.
       b.    The 100 body-worn cameras shall be distributed among officers and first-line
             Supervisors in a manner to be developed by the Department in consultation with
             the Monitor.
       c.    The Department, in consultation with the Monitor, shall evaluate the effectiveness
             and feasibility of the use of body-worn cameras during the first year they are in
             use and, also in consultation with the Monitor, determine whether the use of such
             cameras shall be discontinued or expanded, and if expanded, where such cameras
             shall be used.
       d.    Within 120 days of the Effective Date, the Department, in consultation with the
             Monitor, shall develop, adopt, and implement written policies and procedures
             regarding the use of handheld video cameras. These policies and procedures shall
             specify:

             i.     Handheld video cameras shall be used in the following situations, except
                    when safety or security concerns require an immediate response that
                    would preclude waiting for recording equipment: (1) responding to a Use
                    of Force Incident; (2) all cell extractions; (3) all probe teams actions; and
                    (4) Facility living quarter searches conducted by the Department’s
                    Emergency Services Unit (“ESU”), except Tactical Search Operations
                    (“TSO”), random searches, and strip searches. Inmate resistance during a
                    TSO, random search, or strip search, however, would trigger video
                    recording if it is reasonably believed that a Use of Force or assault on Staff
                    is about to occur or occurs.

             ii.    Handheld video camera operators shall record the following: (1) any
                    attempts made to obtain the Inmate’s compliance after the video camera
                    operator has arrived in the area, (2) the Inmate’s behavior, and (3) all Uses
                    of Force by Staff.

             iii.   In cell extraction situations, the handheld video camera operator shall
                    record: (1) a statement from the team leader summarizing the situation and
                    the plan for resolution; (2) an introduction by each team member,
                    describing the member’s specific responsibilities in the plan for the Use of
                    Force; and (3) a statement from the handheld video camera operator
                    providing his or her name and explaining any impediments to obtaining a
                    clear video recording of the incident.


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             iv.    Handheld video camera operators shall receive appropriate training.

             v.     The video recording shall be continuous and any break in video continuity
                    shall be documented and explained by the handheld video camera
                    operator, to the extent the operator knows of such breaks, in an incident
                    report or Use of Force witness report.

             vi.    Compliance with these policies and procedures is the responsibility of the
                    onsite Supervisor, as well as the operator of the handheld video camera.

       e.    There shall be trained operators of handheld video cameras at each Facility for
             each tour, and there shall be trained operators in ESU. Such operators shall
             receive training on how to properly use the handheld video camera to capture Use
             of Force Incidents, cell extractions, probe team actions, and ESU-conducted
             Facility living quarter searches. This training shall be developed by the
             Department in consultation with the Monitor. The Department shall maintain
             records reflecting the training provided to each handheld video camera operator.
       f.    When there is a Use of Force Incident, copies or digital recordings of videotape(s)
             from handheld or body-worn video cameras that were used to capture the Use of
             Force Incident will be maintained and the ID Investigator or the Facility
             Investigator will have full access to such recordings. If, upon review by the
             Department of a handheld video camera recording made during a Use of Force
             Incident, such videotape does not reasonably and accurately capture the incident
             between the Staff Members and Inmates involved, and the failure was not due to
             equipment failure, the Staff Member who operated the handheld camera shall be
             sent for re-training. If a Staff Member repeatedly fails to capture key portions of
             incidents due to a failure to follow DOC policies and protocols, or if the
             Department determines the Staff Member’s failure to capture the video was
             intentional, the Staff Member shall be made the subject of a referral to the Trials
             Division for discipline and the Monitor will be notified.

       g.    The Department, in consultation with the Monitor, may re-evaluate and/or adjust
             the requirements for the use of handheld cameras if the Department determines
             that body-worn cameras could provide substantially similar coverage.

3.     Maintenance of Stationary Cameras
       a.    The Department shall designate a Supervisor at each Facility who shall be
             responsible for confirming that all cameras and monitors within the Facility
             function properly.
       b.    Each Facility shall conduct a daily assessment (e.g., every 24 hours), of all
             stationary, wall-mounted surveillance cameras to confirm that the video monitors
             show a visible camera image.

       c.    At least twice a month, the assigned Supervisor shall (i) review a substantial
             portion of the wall-mounted surveillance cameras in order to determine which
             cameras are not recording properly, and (ii) review the accuracy of the daily

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              assessments. The assigned Supervisor shall document the results of these
              reviews, including which daily assessments, if any, were inaccurate.
       d.     Within 120 days of the Effective Date, DOC, in consultation with the Monitor,
              shall develop, adopt, and implement written procedures relating to the
              replacement or repair of non-working wall-mounted surveillance cameras. All
              replacements or repairs must be made as quickly as possible, but in no event later
              than two weeks after DOC learns that the camera has stopped functioning
              properly, barring exceptional circumstances which shall be documented. Such
              documentation shall be provided to the Warden and the Monitor. The date upon
              which the camera has been replaced or repaired must also be documented.

4.     Video Preservation
       The Department shall preserve all video, including video from stationary, handheld, and
       body-worn cameras, for 90 days. When the Department is notified of a Use of Force
       Incident or incident involving inmate-on-inmate violence within 90 days of the date of
       the incident, the Department will preserve any video capturing the incident until the later
       of: (i) four years after the incident, or (ii) six months following the conclusion of an
       investigation into the Use of Force Incident, or any disciplinary, civil, or criminal
       proceedings related to the Use of Force Incident, provided the Department was on notice
       of any of the foregoing prior to four years after the incident.


                                  X.      RISK MANAGEMENT
1.     Within 150 days of the Effective Date, in consultation with the Monitor, the Department
       shall develop and implement an early warning system (“EWS”) designed to effectively
       identify as soon as possible Staff Members whose conduct warrants corrective action as
       well as systemic policy or training deficiencies. The Department shall use the EWS as a
       tool for correcting inappropriate staff conduct before it escalates to more serious
       misconduct. The EWS shall be subject to the approval of the Monitor.
       a.     The EWS shall track performance data on each Staff Member that may serve as
              predictors of possible future misconduct.
       b.     ICOs and Supervisors of the rank of Assistant Deputy Warden or higher shall
              have access to the information on the EWS. ICOs shall review this information
              on a regular basis with senior Department management to evaluate staff conduct
              and the need for any changes to policies or training. The Department, in
              consultation with the Monitor, shall develop and implement appropriate
              interventions and services that will be provided to Staff Members identified
              through the EWS.
       c.     On an annual basis, the Department shall review the EWS to assess its
              effectiveness and to implement any necessary enhancements.
2.     Whenever a Staff Member engages in the Use of Force three or more times during a six-
       month period and one or more of these Uses of Force results in an injury to a Staff
       Member or Inmate, the Facility Warden shall review the Staff Member’s involvement in
       the Use of Force Incidents to determine whether it would be appropriate to meet with the

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       Staff Member to provide guidance concerning the Use of Force (“Counseling Meeting”).
       When making this determination, the Facility Warden also shall review records relating
       to the Staff Member’s Use of Force history over the past five years, including the number
       of Use of Force Incidents the Staff Member has been involved in, the severity of injuries
       sustained by Inmates in connection with those Use of Force Incidents, and any
       disciplinary action that has been imposed on the Staff Member. If the Facility Warden
       decides not to conduct a Counseling Meeting, he or she shall document the basis for that
       decision in the Staff Member’s personnel file. Counseling Meetings shall be required if
       any of the Use of Force Incidents during the six-month period involved an instance where
       the Staff Member used force that resulted in a Class A Injury to an Inmate. Counseling
       Meetings shall include guidance on how to utilize non-forceful methods to resolve
       conflicts and confrontations when circumstances do not require immediate physical
       intervention. A summary of the Counseling Meeting and any recommended corrective
       actions shall be documented and included in the Staff Member’s personnel file. The
       Facility Warden’s review and the Counseling Meeting shall be separate from any
       disciplinary actions taken. The EWS shall track whether Staff Members participated in
       Counseling Meetings, and, if so: (a) the name of the individual who provided such
       counseling, and (b) the date on which such counseling occurred.
3.     The Department shall designate a UOF Auditor ("UOF Auditor") who shall report
       directly to the Commissioner, or a designated Deputy Commissioner.
       a.     The UOF Auditor shall be responsible for analyzing all data relating to Use of
              Force Incidents, and identifying trends and patterns in Use of Force Incidents,
              including but not limited to with respect to their prevalence, locations, severity,
              and concentration in certain Facilities and/or among certain Staff Members,
              including Supervisors.
       b.     The UOF Auditor shall have access to all records relating to Use of Force
              Incidents, except that: (i) the UOF Auditor shall have access to records created in
              the course of a Full ID Investigation only after such Full ID Investigation has
              closed; and (ii) the UOF Auditor shall have access to records created by the Trials
              Division only after the Trials Division’s review and, where applicable,
              prosecution of a case has been completed.
       c.     The UOF Auditor shall prepare quarterly reports which shall: (i) detail the UOF
              Auditor’s findings based on his or her review of data and records relating to Use
              of Force Incidents; and (ii) provide recommendations to the Commissioner on
              ways to reduce the frequency of Use of Force Incidents and the severity of
              injuries resulting from Use of Force Incidents.
4.     Within 120 days of the Effective Date, the Department, in consultation with the Monitor,
       shall develop and implement a method of tracking the filing and disposition of litigation
       relating to Use of Force Incidents. The Office of the Corporation Counsel shall provide
       to the Legal Division of the Department, quarterly, new and updated information with
       respect to the filing, and the resolution, if any, of such litigation. The Department shall
       seek information regarding the payment of claims related to Use of Force Incidents from
       the Office of the Comptroller, quarterly.



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5.     The Office of the Corporation Counsel shall bring to the Department’s attention
       allegations of excessive use of force in a lawsuit that have not been subject to a Full ID
       Investigation. ID shall review such allegations and determine whether a Full ID
       Investigation is warranted.
6.     By December 1, 2016, the Department, in consultation with the Monitor, shall develop
       CMS, which will track data relating to incidents involving Staff Members. The Monitor
       shall make recommendations concerning data fields to be included in CMS and how
       CMS may be used to better supervise and train Staff Members. The Department shall, in
       consultation with the Monitor, consider certain modifications to the EWS as it develops
       CMS. Such modifications shall incorporate additional performance data maintained by
       CMS in order to enhance the effectiveness of the EWS. CMS shall be integrated with the
       EWS, and CMS shall have the capacity to access data maintained by the EWS.


                         XI.     STAFF RECRUITMENT AND SELECTION

1.     The Department, in consultation with the Monitor, shall develop and maintain a
       comprehensive staff recruitment program designed to attract well-qualified applicants
       and keep the Department competitive with surrounding law enforcement and correctional
       agencies. The program shall provide clear guidance and objectives for recruiting Staff
       Members.

2.     The Department, in consultation with the Monitor, shall develop and maintain an
       objective process for selection and hiring that adheres to clearly identified standards,
       criteria, and other selection parameters established by laws and regulations. The process
       shall include certain factors that will automatically disqualify an applicant for
       employment as a Staff Member.

3.     The Department shall conduct appropriate background investigations before hiring any
       individual, which shall include assessment of an applicant’s criminal history,
       employment history, relationships or affiliation with gangs, relationships with current
       Inmates, and frequency of appearance in the Inmate visitor database. The background
       investigation shall also include medical screening (including drug tests), reviews of state
       and local child abuse registries accessible to the Department, reference checks, and
       financial records/credit checks. Staff responsible for conducting these background
       investigations shall receive appropriate training. The submission of materially false
       information on a candidate’s application may be grounds for the Department’s seeking
       termination of the Staff Member’s employment at any future date.



                        XII.    SCREENING AND ASSIGNMENT OF STAFF

Promotions
1.     Prior to promoting any Staff Member to a position of Captain or higher, a Deputy
       Commissioner shall review that Staff Member’s history of involvement in Use of Force
       Incidents, including a review of the following (collectively the “Review”):

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       a.     The following data regarding the Staff Member’s involvement in Use of Force
              Incidents during the prior 5 years, to the extent such data is electronically
              maintained by the Department in IRS or any other computerized system: (i) the
              number of Use of Force Incidents the Staff Member has been involved in, (ii) the
              type and severity of injuries sustained by Staff and Inmates; (iii) whether the
              conduct was classified as a Class A, B, or C Use of Force; (iv) whether the Use of
              Force Incident involved a strike or blow to the head or other vital area of an
              Inmate, kicking an Inmate, the use of a baton or other instrument of force against
              an Inmate, the use of a prohibited restraint hold on an Inmate, or an allegation of
              any such conduct; and (v) whether the Inmate was in restraints prior to the Use of
              Force incident.

       b.     The Staff Member’s disciplinary history during the prior five years, including
              whether the Staff Member has been found guilty or pleaded guilty in connection
              with charges relating to a Use of Force Incident and any command discipline
              imposed as a result of the Use of Force.

       c.     Any ID Closing Memoranda issued during the prior 2 years for any Use of Force
              Incident where the Staff Member used or was alleged to have used force.

       d.     The results of the Review shall be documented in a report that explains whether
              the Review raises concerns about the qualification of the Staff Member for the
              promotion, which shall become part of the Staff Member’s personnel file.
2.     DOC shall not promote any Staff Member to a position of Captain or higher if he or she
       has been found guilty or pleaded guilty to any violation in satisfaction of the following
       charges on two or more occasions in the five-year period immediately preceding
       consideration for such promotion: (a) excessive, impermissible, or unnecessary Use of
       Force that resulted in a Class A or B Use of Force; (b) failure to supervise in connection
       with a Class A or B Use of Force; (c) false reporting or false statements in connection
       with a Class A or B Use of Force; (d) failure to report a Class A or Class B Use of Force;
       or (e) conduct unbecoming an officer in connection with a Class A or Class B Use of
       Force, subject to the following exception: the Commissioner or a designated Deputy
       Commissioner, after reviewing the matter, determines that exceptional circumstances
       exist that make such promotion appropriate, and documents the basis for this decision in
       the Staff Member’s personnel file, a copy of which shall be sent to the Monitor.
3.     No Staff Member shall be promoted to a position of Captain or higher while he or she is
       the subject of pending Department disciplinary charges (whether or not he or she has
       been suspended) related to the Staff Member’s Use of Force that resulted in injury to a
       Staff Member, Inmate, or any other person. In the event disciplinary charges are not
       ultimately imposed against the Staff Member, the Staff Member shall be considered for
       the promotion at that time.
Assignments to Special Units
4.     Prior to assigning any Staff Member to any Special Unit, the Department shall conduct
       the Review described in Paragraph 1 above. The results of the Review shall be
       documented in a report that explains whether the Review raises concerns about the

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       qualification of the Staff Member for the assignment, which shall become part of the
       Staff Member’s personnel file.
5.     No Staff Member shall be assigned to any Special Unit while he or she is the subject of
       pending Department disciplinary charges (whether or not he or she has been suspended)
       related to the Staff Member’s Use of Force that resulted in injury to a Staff Member,
       Inmate, or any other person. In the event disciplinary charges are not ultimately imposed
       against the Staff Member, the Staff Member shall be considered for the assignment at that
       time.

6.     If a Staff Member assigned to a Special Unit is disciplined for misconduct arising from a
       Use of Force Incident, the Warden, or a person of higher rank, shall promptly conduct an
       assessment to determine whether the Staff Member should be reassigned to a non-Special
       Unit. The Department shall reassign Staff Members when it determines that the conduct
       resulting in the discipline suggests that the Staff Member cannot effectively and safely
       perform the duties associated with the assignment. If a determination is made not to re-
       assign the Staff Member after the discipline, the basis for the determination shall be
       documented in a report, which shall become part of the Staff Member’s personnel file.

Review of Assignments of Staff Disciplined Multiple Times

7.     The Department shall promptly review the assignment of any Staff Member who has
       been found guilty or pleaded guilty to any violation in satisfaction of the following
       charges on two or more occasions within a five-year period: (a) excessive, impermissible,
       or unnecessary Use of Force that resulted in a Class A or B Use of Force; (b) failure to
       supervise in connection with a Class A or B Use of Force; (c) false reporting or false
       statements in connection with a Class A or B Use of Force; (d) failure to report a Class A
       or Class B Use of Force; or (e) conduct unbecoming an officer in connection with a Class
       A or Class B Use of Force. The review shall include an assessment to determine whether
       the Staff Member should be reassigned to a position with more limited inmate contact.
       The Department shall reassign Staff Members when it determines that the conduct
       resulting in the discipline suggests that the Staff Member should have reduced inmate
       contact. The results of the review shall be documented and become part of the Staff
       Member’s personnel file and a copy shall be sent to the Monitor.

                                       XIII. TRAINING

1.     Within 60 days of the Effective Date, the Department shall work with the Monitor to
       develop new training programs in the areas set forth in subparagraphs (a) - (c) below.
       These training programs shall include fully developed lesson plans and teaching outlines,
       examinations, and written materials, including written scenarios and exercises, to be
       distributed to students. The content of these training programs shall be subject to the
       approval of the Monitor.

          a.      Use of Force Policy Training: The Use of Force Policy Training shall cover
                  all of the requirements set forth in the New Use of Force Directive and the
                  Use of Force reporting requirements set forth in this Agreement. The Use of
                  Force Policy Training shall be competency- and scenario-based, and use video

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           reflecting realistic situations. The Use of Force Policy Training shall include
           initial training (“Initial Use of Force Policy Training”) and refresher training
           (“Refresher Use of Force Policy Training”), as set forth below.
              i.      The Initial Use of Force Policy Training shall be a minimum of 8
                      hours and shall be incorporated into the mandatory pre-service
                      training program at the Academy.
                          1.      Within 6 months of the Effective Date, the Department
                                  shall provide the Use of Force Policy Training to all
                                  Supervisors.

                          2.      Within 12 months of the Effective Date, the
                                  Department shall provide the Use of Force Policy
                                  Training to all other Staff Members.

             ii.      The Refresher Use of Force Policy Training shall be a minimum of
                      4 hours, and the Department shall provide it to all Staff Members
                      within one year after they complete the Initial Use of Force
                      Training, and once every two years thereafter.

     b.    Crisis Intervention and Conflict Resolution Training: The Crisis Intervention
           and Conflict Resolution Training shall cover how to manage inmate-on-
           inmate conflicts, inmate-on-staff confrontations, and inmate personal crises.
           The Crisis Intervention and Conflict Resolution Training shall be
           competency- and scenario-based, use video reflecting realistic situations, and
           include substantial role playing and demonstrations. The Crisis Intervention
           and Conflict Resolution Training shall include initial training for new Staff
           Members (“Initial Crisis Intervention Training”), in-service training for
           current Staff Members (“In-Service Crisis Intervention Training”), and
           refresher training (“Refresher Crisis Intervention Training”), as set forth
           below.
              i.      The Initial Crisis Intervention Training shall be a minimum of 24
                      hours, and shall be incorporated into the mandatory pre-service
                      training program at the Academy.
             ii.      The In-Service Crisis Intervention Training shall be a minimum of
                      24 hours, unless the Monitor determines that the subject matters of
                      the training can be adequately and effectively covered in a shorter
                      time period, in which case the length of the training may be fewer
                      than 24 hours but in no event fewer than 16 hours. All Staff
                      Members employed by the Department as of the Effective Date
                      shall receive the In-Service Crisis Intervention Training within 26
                      months of the Effective Date.
            iii.      The Refresher Crisis Intervention Training shall be a minimum of
                      8 hours, and the Department shall provide it to all Staff Members
                      within one year after they complete either the Initial Crisis


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                             Intervention Training or the In-Service Crisis Intervention
                             Training, and once every two years thereafter.
          c.      Probe Team Training: The Probe Team Training shall cover the proper
                  procedures and protocols for responding to alarms and emergency situations
                  in a manner that ensures inmate and staff safety. The Probe Team Training
                  shall be a minimum of 2 hours, and shall be incorporated into the mandatory
                  pre-service training at the Academy. Within 12 months of the Effective Date,
                  the Department shall provide the Probe Team Training to all Staff Members
                  assigned to work regularly at any Intake Post. Additionally, any Staff member
                  subsequently assigned to work regularly at an Intake Post shall complete the
                  Probe Team Training prior to beginning his or her assignment.

2.     Within 60 days of the Effective Date, the Department shall work with the Monitor to
       strengthen and improve the effectiveness of the existing training programs, as needed, for
       the topics set forth in subparagraphs (a) - (c) below. These training programs shall
       include fully developed lesson plans and teaching outlines, examinations, and written
       materials, including written scenarios and exercises, to be distributed to students.
          a.      Defensive Tactics Training: Defensive Tactics Training, including any
                  revisions, shall cover a variety of defense tactics and pain compliance
                  methods, and shall teach a limited number of techniques to a high level of
                  proficiency. The Defensive Tactics Training shall be competency- and
                  scenario-based, utilize video reflecting realistic situations, and include
                  substantial role playing and demonstrations. The Defensive Tactics Training
                  shall include initial training (“Initial Defensive Tactics Training”) and
                  refresher training (“Refresher Defensive Tactics Training”), as set forth
                  below.
                     i.      The Initial Defensive Tactics Training shall be a minimum of 24
                             hours, and shall be incorporated into the mandatory pre-service
                             training program at the Academy.
                    ii.      The Refresher Defensive Tactics Training shall be a minimum of 4
                             hours, and shall be provided to all Staff Members on an annual
                             basis.
          b.      Cell Extraction Team Training: The Cell Extraction Team Training, including
                  any revisions, shall cover those circumstances when a cell extraction may be
                  necessary and the proper procedures and protocols for executing cell
                  extractions, and shall include hands-on practice. The Cell Extraction Team
                  Training shall be a minimum of 4 hours and shall be provided within 12
                  months of the Effective Date to all Staff Members regularly assigned to
                  Special Units with cell housing. The Cell Extraction Team Training also shall
                  be incorporated into the mandatory pre-service training program at the
                  Academy.
          c.      Investigator Training: There shall be two types of Investigator Training:
                  ID Investigator Training and the Facility Investigator Training. ID
                  Investigator Training shall cover investigative procedures, skills, and

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                  techniques consistent with best practices and the terms of this Agreement.
                  The Facility Investigator Training shall be based on relevant aspects of ID
                  Investigator Training, and shall focus on those investigative procedures, skills,
                  and techniques that are necessary to conduct effective Facility Investigations
                  that are consistent with the terms of this Agreement.
                    i.       ID Investigator Training, including any revisions, shall be a
                             minimum of 40 hours, and shall be provided to any new ID
                             investigators assigned to ID after the Effective Date before they
                             begin conducting investigations.

                   ii.       The Facility Investigator Training shall be a minimum of 24 hours.
                             Within 9 months of the Effective Date, the Department shall
                             provide such training to all Staff Members who serve as Facility
                             Investigators. Staff Members who begin to serve as Facility
                             Investigators more than nine months after the Effective Date shall
                             complete the Facility Investigator Training prior to conducting
                             Facility Investigations.

3.     The Department shall provide Young Inmate Management Training to all Staff Members
       assigned to work regularly in Young Inmate Housing Areas. The Young Inmate
       Management Training shall include fully developed lesson plans and teaching outlines,
       examinations, and written materials, including written scenarios and exercises, to be
       distributed to students. The Young Inmate Management Training shall provide Staff
       Members with the knowledge and tools necessary to effectively address the behaviors
       that Staff Members encounter with the Young Inmate population. This training shall be
       competency-based and cover conflict resolution and crisis intervention skills specific to
       the Young Inmate population, techniques to prevent and/or de-escalate inmate-on-inmate
       altercations, and ways to manage Young Inmates with mental illnesses and/or suicidal
       tendencies. The Young Inmate Management Training shall include initial training (the
       “Initial Young Inmate Management Training”) and refresher training (the “Refresher
       Young Inmate Management Training”), as set forth below.
          a.      The Initial Young Inmate Management Training shall be a minimum of 24
                  hours. The Department shall continue to provide this training to Staff
                  Members assigned to regularly work in Young Inmate Housing Areas. Within
                  60 days of the Effective Date, the Department shall provide the Initial Young
                  Inmate Management Training to any Staff Members assigned to regularly
                  work in Young Inmate Housing Areas who have not received this training
                  previously. Additionally, any Staff Member subsequently assigned to work
                  regularly in a Young Inmate Housing Area shall complete the Initial Young
                  Inmate Management Training prior to beginning his or her assignment.

          b.      The Department will work with the Monitor to develop new Refresher Young
                  Inmate Management Training, which shall be a minimum of 4 hours. For all
                  Staff Members assigned to work regularly in Young Inmate Housing Areas
                  who received this type of training before the Effective Date, the Department
                  shall provide the Refresher Young Inmate Management Training to them

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                  within 12 months of the Effective Date, and once every two years thereafter.
                  For all other Staff Members assigned to work regularly in Young Inmate
                  Housing Areas, the Department shall provide the Refresher Young Inmate
                  Management Training within 12 months after they complete the Initial Young
                  Inmate Management Training, and once every two years thereafter.

4.     Within 60 days of the Effective Date, the Department shall work with the Monitor to
       develop a new training program in the area of Direct Supervision. The Direct
       Supervision Training shall cover how to properly and effectively implement the Direct
       Supervision Model, and shall be based on the direct supervision training modules
       developed by the National Institute of Corrections.

          a.      The Direct Supervision Training shall be a minimum of 32 hours.

          b.      Within 9 months of the Effective Date, the Department shall provide the
                  Direct Supervision Training to all Staff Members assigned to work regularly
                  in Young Inmate Housing Areas. Additionally, any Staff member
                  subsequently assigned to work regularly in the Young Inmate Housing Areas
                  shall complete the Direct Supervision Training prior to beginning his or her
                  assignment.

5.     Whenever a Staff member is found to have violated Department policies, procedures,
       rules, or directives relating to the Use of Force, including but not limited to the New Use
       of Force Directive and any policies, procedures, rules, or directives relating to the
       reporting and investigation of Use of Force Incidents and retention of any use of force
       video, the Staff member, in addition to being subject to any potential disciplinary action,
       shall undergo re-training that is designed to address the violation.

          a.      Such re-training must be completed within 60 days of the determination of the
                  violation.

          b.      The completion of such re-training shall be documented in the Staff Member’s
                  personnel file.

6.     After completing any training required by this Agreement, Staff Members shall be
       required to take and pass an examination that assesses whether they have fully
       understood the subject matter of the training program and the materials provided to them.
       Any Staff Member who fails an examination shall be given an opportunity to review the
       training materials further and discuss them with an appropriate instructor, and shall
       subsequently be required to take comparable examinations until he or she successfully
       completes one.

7.     The Department shall require each Staff Member who completes any training required by
       this Agreement to sign a certification stating that he or she attended and successfully
       completed the training program. Copies of such certifications shall be maintained by the
       Department for the duration of this Agreement.



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8.     The Department shall maintain training records for all Staff Members in a centralized
       location. Such records shall specify each training program that a Staff Member has
       attended, the date of the program, the name of the instructor, the number of hours of
       training attended, whether the Staff Member successfully completed the program, and the
       reason the Staff Member attended the program.


                                 XIV. ARRESTS OF INMATES

1.     The Department shall recommend the arrest of an Inmate in connection with a Use of
       Force Incident only after an investigator with the Correction Intelligence Bureau or ID,
       with input from the Preliminary Reviewer, has reviewed the circumstances warranting the
       potential arrest and has determined that the recommendation is based on probable cause.



            XV.      SAFETY AND SUPERVISION OF INMATES UNDER THE AGE OF 19

General Provisions
1.     Young Inmates shall be supervised at all times in a manner that protects them from an
       unreasonable risk of harm. Staff shall intervene in a timely manner to prevent inmate-on-
       inmate fights and assaults, and to de-escalate inmate-on-inmate confrontations, as soon as
       it is practicable and reasonably safe to do so.

2.     Staff shall conduct daily inspections of all Young Inmate Housing Areas to ensure the
       conditions are reasonably safe and secure. The Department shall take reasonable steps to
       ensure that the locking mechanisms of all cells function properly, are adequate for
       security purposes, and cannot be easily manipulated by Inmates. In the event that a
       locking mechanism of a cell does not meet these criteria, the Department shall stop using
       the cell until the locking mechanism is repaired.

3.     A Warden or Deputy Warden shall tour all Young Inmate Housing Areas at least once
       each shift, unless the Warden or Deputy Warden is not in the Facility during that shift,
       making himself or herself available to respond to questions and concerns from Inmates.
       The tours shall be documented and any general deficiencies shall be noted.

4.     Within 90 days of the Effective Date, the Department, in consultation with the Monitor,
       shall develop and implement an age-appropriate classification system for 16- and 17-year
       olds that is sufficient to protect these Inmates from an unreasonable risk of harm. The
       classification system shall incorporate factors that are particularly relevant to assessing
       the needs of adolescents and the security risks they pose.

5.     Consistent with best practices in United States correctional systems, the Department shall
       develop and maintain a sufficient level of programming for Young Inmates, especially in
       the evenings, on weekends, and in the summer months, to minimize idleness and the
       potential for altercations that result in inmate harm.



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6.      The Department shall transfer any Young Inmate deemed to be particularly vulnerable or
        to be otherwise at risk of harm to an alternative housing unit, or take other appropriate
        action to ensure the Inmate’s safety, and shall document such action.

7.      The Department shall promptly place Young Inmates who express concern for their
        personal safety in secure alternative housing, pending investigation and evaluation of the
        risk to the Inmate’s safety and a final determination as to whether the Inmate should
        remain in such secure alternative housing, whether the Inmate should be transferred to
        another housing unit, or whether other precautions should be taken. The Department
        shall follow the same protocol when a Young Inmate’s family member, lawyer, or other
        individual expresses credible concerns on behalf of the Inmate. The Department shall
        maintain records sufficient to show the date and time on which any Young Inmate
        expressed concern for his personal safety (or on which a family member, lawyer, or other
        individual expressed such concern), the date and time the Inmate was transferred to
        secure alternative housing, and the final determination that was made regarding whether
        the Inmate should remain in protective custody or whether other necessary precautions
        should be taken, including the name of the Staff Member making the final determination.

8.      With the exception of the Clinical Alternatives to Punitive Segregation (“CAPS”),
        Restricted Housing Units (“RHUs”), Punitive Segregation units, protective custody,
        Mental Observation Units, Transitional Restorative Units (“TRU”), and Program for
        Accelerated Clinical Effectiveness (“PACE”) units, the Department shall continue to
        house high classification Young Inmates separately from low classification Young
        Inmates.

9.      All allegations of sexual assault involving Young Inmates shall be promptly and timely
        reported and thoroughly investigated.

Video Camera Coverage
10.     Within 90 days of the Effective Date, the Department shall install additional stationary,
        wall-mounted surveillance cameras in RNDC to ensure Complete Camera Coverage of
        all areas that are accessible to Inmates under the age of 18. Within 120 days of the
        Effective Date, the Monitor shall tour RNDC to verify that this requirement has been met.

11.     By July 1, 2016, the Department shall install additional stationary, wall-mounted
        surveillance cameras in Facilities that house 18-year olds to ensure Complete Camera
        Coverage of all housing areas that are accessible to 18-year olds. By August 1, 2016, the
        Monitor shall tour these areas to verify that this requirement has been met.

Direct Supervision
12.     The Department shall adopt and implement the Direct Supervision Model in all Young
        Inmate Housing Areas.

Staffing
13.     Young Inmate Housing Areas shall be staffed in a manner sufficient to fulfill the terms of
        the Agreement, and allow for the safe operation of the housing areas. Staff assigned to

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        Young Inmate Housing Areas shall be appropriately qualified and experienced. To the
        extent that the Department assigns recently hired correction officers or probationary Staff
        Members to the Young Inmate Housing Areas, the Department shall use its best efforts to
        select individuals who have either identified a particular interest in or have relevant
        experience working with youth.

14.     The Department shall make best efforts to ensure that no Young Inmate Housing Area on
        any tour shall be staffed exclusively by probationary Staff Members.

16.     Staffing Levels.

        a.     The ratio between Inmates and Direct Supervision floor officers shall be no more
               than 15:1 in Young Inmate Housing Area units used for Inmates under the age of
               18, except during the overnight shift when the ratio may be up to 30:1. The
               maximum living unit size shall be 15 Inmates.

        b.     The ratio between Inmates and Direct Supervision floor officers shall be no more
               than 25:2 in Young Inmate Housing Area units used to house high classification
               18-year olds, except during the overnight shift when the ratio may be up to 25:1.
               The maximum living unit size shall be 25 Inmates.

        c.     The ratio between Inmates and Direct Supervision floor officers shall be no more
               than 30:1 in Young Inmate Housing Area units used to house medium
               classification 18-year olds. The maximum living unit size shall be 30 Inmates.

        d.     The maximum inmate-to-staff ratios and living unit sizes set forth in
               subparagraphs (b) and (c) above may be modified only if the following two
               conditions are met:

              i.       The Department develops and submits to the Monitor for review a written
                       comprehensive inmate management and housing plan for Young Inmate
                       Housing Areas used for 18-year olds that, among other things, includes
                       staffing levels, an array of appropriate programming, and alternative
                       maximum inmate-to-staff ratio and/or living unit size requirements
                       (“Proposed Housing Management Plan”). The Department shall include
                       in the Proposed Housing Management Plan an explanation of how its
                       implementation is as likely, or more likely, to achieve the goals of
                       protecting Inmates from an unreasonable risk of harm and allowing for the
                       safe operation of the Young Inmate Housing Areas than the maintenance
                       of the maximum inmate-to-staff ratios and living unit sizes set forth in
                       subparagraphs (b) and (c) above.

             ii.       The Monitor makes a written determination that he agrees with the
                       Department’s assessment that the Proposed Housing Management Plan is
                       as likely, or more likely, to achieve the goals of protecting Inmates from
                       an unreasonable risk of harm and allowing for the safe operation of the
                       Young Inmate Housing Areas than the maintenance of the maximum


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                      inmate-to-staff ratios and living unit sizes set forth in subparagraphs (b)
                      and (c) above.

        e.     In the event the maximum inmate-to-staff ratios and living unit sizes set forth in
               subparagraphs (b) and (c) above are modified as provided for in subparagraph (d),
               the alternative maximum inmate-to-staff ratio and living unit size requirements
               included in the Proposed Housing Management Plan will apply and the
               Department shall be required to implement the Proposed Housing Management
               Plan.

              i.      After the Proposed Housing Management Plan has been implemented, the
                      Department may seek to modify it during the duration of the Agreement
                      by submitting to the Monitor for review a written request explaining the
                      proposed modification and how the modification will further the goals of
                      protecting Inmates from an unreasonable risk of harm and allowing for the
                      safe operation of the Young Inmate Housing Areas used for 18-year olds.

             ii.      If the Monitor makes a written determination that he agrees with the
                      Department’s assessment that the proposed modification will further the
                      goals of protecting Inmates from an unreasonable risk of harm and
                      allowing for the safe operation of the Young Inmate Housing Areas used
                      for 18-year olds, the modified version of the Proposed Housing
                      Management Plan, including the maximum inmate-to-staff ratio and living
                      unit size requirements included in the modified version, will apply and the
                      Department shall be required to implement the Proposed Housing
                      Management Plan as modified.

17.     The Department shall adopt and implement a staff assignment system under which a team
        of officers and a Supervisor are consistently assigned to the same Young Inmate Housing
        Area unit and the same tour, to the extent feasible given leave schedules and personnel
        changes.

18.     The Department, in consultation with the Monitor, shall continue to develop and
        implement measures, including financial incentives, to: (a) encourage experienced and
        qualified Staff to work in the Young Inmate Housing Areas that are used for Inmates
        under the age of 18; and (b) retain qualified Staff in the Young Inmate Housing Areas
        that are used for Inmates under the age of 18 and limit staff turnover. The Department
        shall maintain records sufficient to show the numbers of Staff transferring in and out of
        the Young Inmate Housing Areas that are used for Inmates under the age of 18, the years
        of experience with the Department of the Staff regularly assigned to these areas, and the
        qualifications of Staff regularly assigned to these areas.




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                                  XVI. INMATE DISCIPLINE

Owed Punitive Segregation Time

1.     No Inmates under the age of 19 shall be placed in Punitive Segregation based upon the
       Punitive Segregation time they accumulated during a prior incarceration.

Inmates Under the Age of 18

2.     The Department shall not place Inmates under the age of 18 in Punitive Segregation or
       Isolation.

3.     Within 60 days of the Effective Date, the Department, in consultation with the Monitor,
       shall develop and implement systems, policies, and procedures for Inmates under the age
       of 18 that reward and incentivize positive behaviors. These systems, policies, and
       procedures shall be subject to the approval of the Monitor. Any subsequent changes to
       these systems, policies, and procedures shall be made in consultation with the Monitor.

4.     Within 60 days of the Effective Date, the Department, in consultation with the Monitor,
       shall develop and implement systems, policies, and procedures to discipline Inmates
       under the age of 18 who commit infractions in a manner that is: (a) consistent with their
       treatment needs; (b) does not deprive them of access to mandated programming,
       including programming required by the Board of Correction, standard out of cell time,
       recreation time, and any services required by law; and (c) does not compromise the safety
       of other Inmates and Staff.

18-Year Old Inmates

5.     The Department shall not place 18-year old Inmates with serious mental illnesses in
       Punitive Segregation or Isolation. Any 18-year old Inmate with a serious mental illness
       who commits an infraction involving violence shall be housed in an appropriate
       therapeutic setting staffed by well-trained and qualified personnel and operated jointly
       with the Corrections Health Care Provider.

6.     Within 120 days of the Effective Date, the Department, in consultation with the Monitor,
       shall develop and implement an adequate continuum of alternative disciplinary sanctions
       for infractions in order to reduce the Department’s reliance on Punitive Segregation as a
       disciplinary measure for 18-year old Inmates. These systems, policies, and procedures
       shall be subject to the approval of the Monitor. Any subsequent changes to these
       systems, policies, and procedures shall be made in consultation with the Monitor.

7.     The Department shall not place any18-year old Inmate in Punitive Segregation unless a
       mental health care professional determines that the confinement does not present a
       substantial risk of serious harm to the inmate given his health condition, including his
       mental health, and needs. Such determination shall be documented and signed by the
       mental health care professional.



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8.      To the extent that an 18-year old Inmate is placed in Punitive Segregation or Isolation,
        the Corrections Health Care Provider shall monitor the Inmate’s medical and mental
        health status on a daily basis to assess whether the continued confinement presents a
        substantial risk of serious harm to the inmate’s medical or mental health. The
        Corrections Health Care Provider will document its daily assessment in the Inmate’s
        medical record. If the Corrections Health Care Provider’s assessment indicates removing
        the Inmate from Punitive Segregation or Isolation based on the Inmate’s medical or
        mental health condition, the Inmate shall be promptly transferred out of Punitive
        Segregation or Isolation.

9.      The conditions of any cells used for Punitive Segregation or Isolation housing for 18-year
        old Inmates shall not pose an unreasonable risk to Inmates’ safety. This provision does
        not address issues covered in a separate ongoing lawsuit Benjamin v. Ponte, 75 Civ.
        3073, including but not limited to maintenance of ventilation systems or lighting, or the
        sanitation of the units.

De-escalation Confinement

10.     Nothing in the section shall be construed to prohibit the Department from placing Young
        Inmates in a locked room or cell as a temporary response to behavior that poses a risk of
        immediate physical injury to the Inmate or others (“De-escalation Confinement”). The
        Department shall comply with the following procedures when utilizing De-escalation
        Confinement:

        a.     Prior to the confinement, the Department shall attempt to control the Inmate’s
               behavior through less severe measures, time and circumstances permitting. Such
               measures shall be documented.

        b.     The Tour Commander of the Facility shall be notified within 30 minutes of the
               confinement and provided with the circumstances and facts that justify the
               confinement.

        c.     The Inmate shall remain in confinement for only so long as he or she continues to
               pose a risk of immediate physical injury to the Inmate or others. A mental health
               care professional shall assess the Inmate at least once every three hours to
               determine whether the Inmate continues to pose a risk of immediate physical
               injury to the Inmate or others. The period of confinement shall not exceed 24
               hours, except in extraordinary circumstances which shall be documented,
               approved in writing by the Warden of the Facility, and approved in writing by the
               Corrections Health Care Provider supervising psychiatrist or supervising clinical
               psychologist.




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Disciplinary Process Review

11.     Within 120 days of the Effective Date, the Department shall retain a qualified outside
        consultant to conduct an independent review of the Department’s infraction processes
        and procedures to evaluate whether: (a) they are fair and reasonable; (b) Inmates are
        afforded due process; and (c) infractions are imposed only where a rule violation is
        supported by a preponderance of the credible evidence. Within 240 days of the Effective
        Date, the outside consultant shall issue a report setting forth the methodology used, the
        findings of the review, the bases for these findings, and any recommendations, which the
        Department shall implement unless the Commissioner determines that doing so would be
        unduly burdensome.



                  XVII. HOUSING PLAN FOR INMATES UNDER THE AGE OF 18

1.      The Department and the Mayor’s Office of Criminal Justice shall make best efforts to
        search for and identify an alternative site not located on Rikers Island for the placement
        of Inmates under the age of 18 (“Alternative Housing Site”). The Department and the
        Mayor’s Office of Criminal Justice shall consult with the Monitor during the search
        process. The Alternative Housing Site shall be readily accessible by public transportation
        to facilitate visitation between Inmates and their family members, and shall have the
        capacity to be designed and/or modified in a manner that provides: (a) a safe and secure
        environment; (b) access to adequate recreational facilities, including sufficient outdoor
        areas; (c) access to adequate programming, including educational services; (d) the
        capacity to house Inmates in small units; and (e) a physical layout that facilitates
        implementation of the Direct Supervision Model.

2.      The Department shall include in its Compliance Reports a summary of the efforts made
        during the Reporting Period to identify an Alternative Housing Site, a description of any
        site(s) under consideration, the anticipated next steps in the search process, and, if an
        Alternative Housing Site has been identified, the timeline for completion of any
        retrofitting or other work that is necessary before the site may be used to house Inmates.1

3.      The Department shall make best efforts to place all Inmates under the age of 18 in an
        Alternative Housing Site, unless, after conducting a diligent search, the Department and
        the Mayor’s Office of Criminal Justice determine that no suitable alternative site exists.




1
 Compliance Reports and Reporting Periods are referenced and defined in Paragraph 1 of
Section XIX (Reporting Requirements and Parties’ Right of Access).

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                               XVIII.          IMPLEMENTATION

1.     To the extent necessary and not otherwise explicitly required by this Agreement, within 6
       months of the Effective Date, the Department shall review and revise its existing policies,
       procedures, protocols, training curricula, and practices to ensure that they are consistent
       with, incorporate, and address all provisions of this Agreement. The Department shall
       advise the Monitor of any material revisions that are made. The Department also shall
       notify Staff Members of such material revisions, and, where necessary, train Staff
       Members on the changes. The 6-month deadline may be extended for a reasonable period
       of time with the Monitor’s approval.

2.     The Department shall revise and/or develop, as necessary, other written documents, such
       as logs, handbooks, manuals, and forms, to effectuate the terms of this Agreement.

3.     The Department shall designate a Department employee whose primary responsibility is
       to serve as Compliance Coordinator. The Compliance Coordinator shall report directly to
       the Commissioner, a designated Deputy Commissioner, or a Chief. The Compliance
       Coordinator shall be responsible for coordinating compliance with this Agreement and
       shall serve as the Department’s point of contact for the Monitor and Plaintiffs’ Counsel.



            XIX.    REPORTING REQUIREMENTS AND PARTIES’ RIGHT OF ACCESS

1.     The Department shall submit periodic compliance reports to the Monitor and Plaintiffs’
       Counsel (“Compliance Reports”). The Compliance Reports shall be provided to the
       Monitor and Plaintiffs’ Counsel within 30 days after the end of each Reporting Period
       during the Agreement. The first Reporting Period shall begin on the Effective Date and
       end four months after the Effective Date. For the first year after the Effective Date, each
       subsequent Reporting Period shall be a four-month period of time beginning on the day
       following the end of the previous Reporting Period. Thereafter, the length of the
       Reporting Period shall be a six-month period of time beginning on the day following the
       end of the previous Reporting Period.

2.     The Department may redact Staff Member names in the version of the Compliance
       Report provided to Plaintiffs’ Counsel. The version of the Compliance Report provided
       to the Monitor shall include actual Staff Member names.

3.     The Compliance Reports shall not be admissible against Defendants in any proceeding
       other than a proceeding related to the enforcement of this Agreement.

4.     Each Compliance Report shall at a minimum include the following:

       a.     A description of the actions that the Department has taken during the Reporting
              Period to comply with each provision of this Agreement. The Compliance Report
              shall also include a description of any instances during the Reporting Period when
              the Department was unable to comply with a provision of the Agreement that
              required compliance during the Reporting Period.

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  b.    The below categories of data, broken down by Facility, for each month, quarter,
        and year end that falls within the Reporting Period. The data shall be reported
        separately for: the inmate population overall (where applicable), Inmates under
        the age of 18, and 18-year old Inmates.

        i.      The number of Use of Force Incidents, by category (i.e., Class A, Class B,
                or Class C).

        ii.     The average daily inmate population.

        iii.    The average total number of Staff, by rank, assigned to each Facility.

        iv.     The average total number of Staff on probationary status, by rank,
                assigned on a regular basis to Young Inmate Housing Area units used for
                Inmates under the age of18.

        v.      The number of Inmates who were injured in a Use of Force Incident and
                the number of Inmates who suffered Class A Injuries in a Use of Force
                Incident.

        vi.     The number of inmate-on-inmate assaults and fights involving Young
                Inmates, the number of Young Inmates who were injured in such assaults
                or fights, and the number of Young Inmates who suffered Class A Injuries
                in such assaults or fights.

        vii.    The number of staff injuries resulting from Use of Force Incidents.

        viii.   The number of cell extractions involving use of chemical agents only and
                no other Use of Force.

        ix.     The number of cell extractions involving Use of Force other than chemical
                agents.

        x.      The number of Use of Force Incidents referred to ID for a Full ID
                Investigation.

        xi.     The number of Full ID Investigations completed.

  c.    The following data for the Reporting Period.

        i.      The number of open Full ID Investigations as of the last day of the
                Reporting Period, and the dates of the underlying Use of Force Incidents.

        ii.     A list of each Use of Force Incident where, during the Reporting Period, a
                Facility Investigation or ID investigation concluded that a Staff Member
                engaged in a UOF Violation. The list also shall include and continue to
                track any Use of Force Incident that had been included in the previous
                Compliance Report pursuant to this subparagraph, but where the


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                disciplinary process for that incident was still pending in the Trials
                Division at the time the previous Compliance Report was submitted.

                1.     The list shall include: the assigned Use of Force Incident
                       identification number; the date and location of the Use of Force
                       Incident; the name of the Staff Member who committed the
                       violation; the date the Use of Force investigation was completed;
                       the nature of the UOF Violation; the nature of any injuries
                       sustained by Inmates, Staff Members, or anyone else (if
                       applicable); and a brief description of any corrective, remedial,
                       disciplinary, or other actions recommended and/or taken against
                       the Staff Member who committed the UOF Violation. The list
                       shall also identify whether any Inmate involved in the Use of Force
                       Incident was an 18-year old or under the age of 18.

                2.     If the matter was referred to the Trials Division, the list shall also
                       include: the date the matter was referred to the Trials Division; the
                       charge(s) brought (if applicable); the date charges were served (if
                       applicable); the status of the prosecution of the matter (if
                       applicable); the disciplinary penalty sought at OATH (if
                       applicable); and the disposition of the charges and the penalty
                       imposed (if applicable). In the event a decision was made not to
                       prosecute the matter, the Compliance Report shall set forth the
                       basis for that decision.

        iii.    A list of all Staff Members who participated in Counseling Meetings with
                Facility Wardens after engaging in the Use of Force three or more times
                during a six-month period, as referenced in Paragraph 2 of Section X
                (Risk Management).

        iv.     The number of additional video surveillance cameras installed during the
                Reporting Period, and the areas covered, by Facility.

        v.      A list of those cameras out of service for more than two weeks, and the
                length of time that they were out of service, by Facility.

        vi.     A list of each Young Inmate placed in Punitive Segregation or Isolation.
                For each such Inmate, the Compliance Report shall include the period of
                the Inmate’s confinement in Punitive Segregation or Isolation, the reason
                for the confinement (i.e., the nature of the Inmate’s infraction), and
                whether the Inmate suffers from a mental illness.

        vii.    A summary of the training provided to Staff Members pursuant to this
                Agreement, including the name of each training course provided and the
                number of Staff who successfully completed the course.

        viii.   Any quarterly reports prepared by the UOF Auditor and referenced in
                Paragraph 3(c) of Section X (Risk Management).

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              ix.     A list of the names and rank of Staff Members who were assigned to work
                      regularly in Young Inmate Housing Areas on the first day of the Reporting
                      Period, and a list reflecting the same information on the last day of the
                      Reporting Period.

       d.     A summary of the efforts made during the Reporting Period to identify an
              Alternative Housing Site for Inmates under the age of 18 as set forth in Paragraph
              2 of Section XVII (Housing Plan for Inmates Under the Age of 18).

5.     At the end of each month, the Department shall provide the Monitor and Plaintiffs’
       Counsel with the documented results of all Preliminary Reviews conducted in the
       preceding month pursuant to Paragraph 7(d) of Section VII (Use of Force Investigations).
       (For example, the results of Preliminary Reviews concluded in January would be
       provided at the end of February.)

6.     The Department shall promptly notify the SDNY of any Use of Force Incident where the
       conduct appears to be criminal in nature.

7.     The Department shall maintain sufficient records to document that the requirements of
       this Agreement are being properly implemented, including any records required by or
       developed pursuant to this Agreement. The Department shall maintain and provide to the
       Monitor, upon request, all records or other documents relevant to verify that it has taken
       the actions described in the Compliance Reports (e.g., policies, procedures, protocols,
       training materials, Use of Force Reports, use of force investigation files, etc.). The
       Department shall make any such records available to the Monitor within 14 days of a
       request; if more time is needed, the Department shall explain when the records can be
       made available.

8.     If Plaintiffs’ Counsel in good faith believe that Defendants may not be in compliance
       with any obligation under this Agreement, Plaintiffs’ Counsel shall have the ability to
       obtain information and/or documents relevant to Plaintiffs’ Counsel’s particular concerns
       regarding Defendants’ compliance. In such circumstance, prior to requesting the
       information and/or documents from Defendants, Plaintiffs’ Counsel shall first seek such
       information and/or documents from the Monitor. In the event that the Monitor does not
       have the requested information and/documents, Plaintiffs’ Counsel may direct the request
       to Defendants, who shall provide the requested information and/or documents to
       Plaintiffs’ Counsel as soon as practicable, subject to Defendants’ ability to withhold
       privileged information. Defendants may object to any such request on the grounds that it
       is unduly burdensome. If Plaintiffs’ Counsel continue to believe that Defendants may not
       be in compliance with any obligation under this Agreement, Plaintiffs’ representatives,
       including their attorneys, consultants, and agents, shall be granted such access to all
       Facilities, Inmates, Staff Members and contracted staff (subject to the employee’s right to
       representation under certain circumstances as set forth in Section 75 of the New York
       Civil Service Law and subject to Mayor’s Executive Order 16 (“MEO-16”)) as is
       reasonably necessary to assess Plaintiffs’ Counsel’s particular concerns regarding
       Defendants’ compliance with an obligation of the Agreement. Plaintiffs’ representatives
       will be accompanied by Department representatives during visits.

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                                     XX.     MONITORING

Selection and Replacement

1.     The Parties agree that Steve J. Martin will serve as the Monitor and shall be responsible
       for assessing the Department’s compliance with this Agreement.

2.     If at any time during the Agreement the Monitor is unable to serve, the Parties shall make
       a good faith effort to promptly agree on a replacement. In the event the Parties cannot
       agree on a replacement, the Parties shall recommend candidates to the Court, and the
       Court shall appoint a new Monitor from the names submitted by the Parties.

3.     The Monitor will be subject to the supervision and Orders of the Court.

4.     The Monitor will not, and is not intended to, replace or assume the duties of the
       Commissioner, any of his staff, or any other City officials.

Funding and Staff

5.     The City shall bear all reasonable fees, costs, and expenses of the Monitor, including
       payments to the Monitor’s staff. Such fees, costs, and expenses shall be sufficient to
       allow the Monitor to fulfill his duties pursuant to this Agreement in a reasonable and
       efficient manner. The Monitor may hire or consult with such additional qualified staff as
       is reasonably necessary to fulfill his duties pursuant to this Agreement without
       duplication of effort. The Monitor shall submit an invoice for his services, and the
       services of his consultants and staff, to the City on a monthly basis. Those invoices will
       include charges for fees, costs, and expenses. Payment on such invoices will be made
       within 60 days of receipt. If the City objects to any fees, costs, or expenses as
       unreasonable, unnecessary, or duplicative, the City shall submit the invoice to the Court
       for a determination of reasonable fees, costs, and expenses.

6.     The Monitor and his staff shall have appropriate experience and education or training
       related to the subject matters covered in this Agreement. The Parties reserve the right to
       object for good cause to any member of the Monitor’s staff.

7.     The Monitor shall enter into an appropriate confidentiality agreement. The Monitor’s
       staff shall be subject to the same access rights and confidentiality limitations as the
       Monitor.

Monitor’s Access to Information

8.     In order to perform his responsibilities under this Agreement, the Monitor shall have
       access to: (a) the buildings and grounds of all Facilities; (b) Department Staff Members,
       agents, and contractors; (c) Inmates; (d) non-privileged Department documents and
       records; and (e) all records relating to Inmate injuries sustained as a result of a Use of
       Force Incident. The Monitor shall have the right to conduct confidential interviews of
       Inmates, to speak to Staff Members outside the presence of other Staff Members,
       including Supervisors, and to observe training courses required by this Agreement. The

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        Monitor’s ability to interview Staff Members shall be subject to the employee’s right to
        representation under certain circumstances as set forth in Section 75 of the New York
        Civil Service Law and MEO-16. To the extent that the Monitor discusses an individual
        Use of Force Incident with an Inmate or Staff Member, the purpose of such interview
        shall be solely to gather information to allow the Monitor to assess compliance with the
        Agreement and perform his responsibilities under the Agreement, and not for the purpose
        of investigating the specific Use of Force Incident.

9.      Defendants shall permit Plaintiffs’ Counsel, including their consultants and agents, to
        accompany the Monitor on site visits. Plaintiffs’ Counsel shall confer with the Monitor
        in advance of the site visit to ensure that their participation will not interfere with the
        Monitor’s ability to effectively conduct the visit.

10.     Upon request to the Monitor, Plaintiffs’ Counsel shall have access to information and
        other materials related to the provisions of this Agreement that have been provided to the
        Monitor, provided that privileged information shall not be shared with Plaintiffs’ Counsel
        absent Defendants’ consent and provided that the provision of this information will not
        interfere with the Monitor’s ability to effectively monitor this Agreement.

11.     Plaintiffs’ Counsel shall not disclose the names or other individual-identifying
        information of Staff Members obtained from the Department or the Monitor pursuant to
        this Agreement, unless such information is necessary to enforce this Agreement or for
        any law enforcement purpose. This paragraph does not apply to information that
        Plaintiffs’ Counsel obtains from any other sources.

        a.     Plaintiffs’ Counsel, other than the SDNY, shall limit access and use of such
               information to staff directly assigned to work on this action. Such assigned staff
               shall not use that information for any purpose other than to enforce the explicit
               terms of this Agreement.

        b.     Plaintiffs’ Counsel shall redact all individual-identifying information with the
               exception of Staff names from any pleading, motion, or other document to be
               filed with the Court to enforce this Agreement. Additionally, Plaintiffs’ Counsel
               shall inform Defendants if they intend to include Staff names in any such filing.
               If Defendants assert a good faith basis for also withholding Staff names from
               public disclosure, Plaintiffs’ Counsel shall either redact Staff names from the
               filing, or file the pleading, motion, or document under seal. In the event the filing
               is made under seal, the filing will be unsealed after 10 Business Days unless
               Defendants submit an application to keep the filing sealed, in which case the
               filing shall remain sealed pending the Court’s resolution of that application.
               Where possible, only the portions of the filings that contain names of Staff
               Members shall be filed under seal.

        c.     This Paragraph 11 is not intended to prevent or in any way limit or impair the
               right of the SDNY or DOJ to disclose to any agency or department of the United
               States, or any division of any such agency or department, any information
               obtained from the Monitor or the Defendants pursuant to this Agreement for


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               purposes of reporting any potential violation of law or regulation, or in any
               proceeding relating to any potential violation of law or regulation.

        d.     The protective order entered on May 23, 2013 (Dkt. 89) remains in full force and
               effect. However, the SDNY and DOJ may use any materials designated as
               confidential pursuant to the Protective Order as is necessary to enforce this
               Agreement or for any law enforcement purpose.

12.     The Department shall have access to any records relating to inmate injuries sustained as a
        result of a Use of Force Incident that are provided to the Monitor.

13.     The Department shall encourage all Staff Members to cooperate fully with the Monitor.

Monitoring Plan

14.     Within 30 days of the Effective Date, the Monitor shall provide the Parties with a draft
        monitoring plan that sets forth the methodology the Monitor intends to use to assess the
        Department’s compliance with the terms of this Agreement (”Monitoring Plan”). The
        Monitoring Plan shall be provided to the Parties in draft form for comment at least 30
        days prior to its issuance. The Monitor shall consider the Parties’ comments, and make
        any changes he or she deems appropriate, before issuing a final Monitoring Plan. The
        Monitoring Plan may be revised by the Monitor, as needed and after consultation with the
        Parties, in order to facilitate the Monitor’s assessment of the Department’s compliance
        with the terms of the Agreement. Nothing in this Paragraph or in the Monitoring Plan
        shall in any way limit the scope of the Monitor’s access to information, documents, and
        individuals as otherwise set forth herein.

15.     The Monitor’s methodology shall include, but is not limited to, the following:

        a.     Periodic visits and tours of the Facilities.

        b.     Interviews of Inmates, Staff Members, and other persons.

        c.     Periodic meetings with stakeholders, including advocacy groups and employee
               representatives.

        d.     Development of protocols for sampling and reviewing records relating to Use of
               Force Incidents to evaluate compliance with the terms of this Agreement,
               including but not limited to compliance with the New Use of Force Directive,
               provisions of this Agreement relating to the reporting and investigation of Use of
               Force Incidents, and provisions of this Agreement relating to staff discipline and
               accountability.

        e.     Development of protocols for sampling and reviewing records relating to matters
               referred to the Trials Division as a result of a Use of Force investigation.

        f.     The review of all policies, procedures, protocols, and training curriculum
               materials adopted by the Department pursuant to this Agreement.

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        g.     Attending a number of the Staff training programs identified in this Agreement to
               evaluate the programs, and reviewing records reflecting attendance at and
               completion of such trainings.

        h.     The review of the installation, functioning, and maintenance of the wall-mounted,
               stationary video surveillance cameras required by this Agreement.

        i.     The review of complaints from Inmates or their family members, attorneys, or
               other representatives relating to the subject matters of this Agreement.

        j.     Analyses of data relating to the subject matters of this Agreement available from
               the Department’s management and information systems, including any data
               available on IRS, current legacy databases and reporting systems, and CMS (once
               it becomes operational).

        k.     The review of other Department reports and other documents that are pertinent to
               monitoring compliance with this Agreement.

Monitor’s Report

16.     For each Reporting Period, the Monitor shall file with the Court and provide the Parties a
        report describing the efforts the Department has taken to implement the requirements of
        this Agreement and evaluating the extent to which the Department has complied with
        each substantive provision of this Agreement (the “Monitor Report”).

17.     The Monitor shall issue a Monitor Report within 90 days following each Reporting
        Period. The Monitor Reports shall be provided to the Parties in draft form for comment
        at least 30 days prior to their issuance, and the Parties shall provide the Monitor with
        their comments, if any, within 21 days after receipt. The Monitor shall consider the
        Parties’ comments, and make any changes he or she deems appropriate, before issuing
        the final report. The Monitor Reports shall be written with due regard for the privacy
        interests of individual Inmates and Staff Members; federal, state and local laws regarding
        the privacy of such information; and the interest of the Department in protecting against
        the disclosure of non-public or privileged information. Consistent with such interests and
        laws, the Monitor shall redact individual-identifying information from Monitor Reports
        and any documents submitted with those reports, and shall give due consideration to the
        Department’s requests to redact any other information. To the extent the Monitor
        declines to make redactions requested by the Department, the Monitor Report and any
        documents submitted with those reports shall be submitted to the Court under seal for the
        Court to consider the Department’s proposed redactions before making the Monitor
        Report public.

18.     In each Monitor Report, the Monitor shall evaluate the status of compliance with each
        substantive provision of the Agreement using the following standards: (a) Substantial
        Compliance,2 (b) Partial Compliance,3 and (c) Non-compliance.4 To the extent a
2
 “Substantial Compliance” shall mean that the Department has achieved a level of compliance
that does not deviate significantly from the terms of the relevant provision.

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        provision includes a deadline that is subsequent to the end of the Reporting Period, the
        Monitor Report shall not assess the status of compliance with that provision and will
        instead report on the City’s progress towards implementing the provision. Non-
        compliance with mere technicalities, or temporary failure to comply during a period of
        otherwise sustained compliance, will not constitute failure to maintain Substantial
        Compliance. At the same time, temporary compliance during a period of sustained Non-
        compliance shall not constitute Substantial Compliance. In order to assess compliance,
        the Monitor shall follow the methodologies and steps set forth in the Monitoring Plan.
        The Monitor shall be responsible for independently verifying any representations from
        the Department regarding its progress toward compliance, including but not limited to
        any representations included in Compliance Reports, and examining any supporting
        documentation where applicable. Each Monitor Report shall describe in detail the steps
        taken by the Monitor and/or the Monitor’s staff to assess compliance with each
        substantive provision of the Agreement, and the factual basis for the Monitor’s findings
        concerning the extent to which the Department has complied with each provision.

19.     The Monitor Report may include recommendations from the Monitor for ways to address
        areas of Partial Compliance or Non-compliance, such as recommendations to modify
        policies, procedures, protocols, staffing, and training.

20.     The Monitor Reports filed with the Court shall be public documents. In the event that the
        Department requests that redactions be made to parts of the filed Monitor Report or any
        documents attached to the Monitor Report, such material shall not be made public until
        the Court resolves those redaction requests, as set forth in Paragraph 17 of this section.

21.     The Monitor Report shall not be admissible against Defendants in any proceeding other
        than a proceeding relating to the enforcement of this Agreement.

Other Monitoring Provisions

22.     The Monitor shall be permitted to initiate and receive ex parte communications with all
        Parties.

23.     No Party, or any employee or agent of any Party, shall have supervisory authority over
        the Monitor’s activities, reports, findings, or recommendations.

24.     The Monitor may provide technical assistance or perform consultative tasks in
        connection with the implementation of the terms of this Agreement as requested by the
        Department.

25.     Upon the receipt of written questions from Plaintiffs’ Counsel or the Department
        concerning the Monitor’s activities in assessing compliance with this Agreement and/or
        the Department’s compliance with this Agreement, the Monitor shall provide Plaintiffs’
3
  “Partial Compliance” shall mean that the Department has achieved compliance on some
components of the relevant provision of this Agreement, but significant work remains.
4
   “Non-compliance” shall mean that the Department has not met most or all of the components
of the relevant provision of this Agreement.

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        Counsel or the Department a written response within 30 days, or, if the question is time-
        sensitive, within a shorter reasonable period of time. The Monitor may decline to answer
        the question or defer answering the question until submission of the next Monitor Report.

26.     With respect to provisions of this Agreement that require the Monitor’s approval, the
        Monitor’s approval shall not be unreasonably withheld. Mere disagreement as to how
        best to achieve compliance with the terms of the Agreement is not enough to withhold
        approval; such approval may only be withheld when the Monitor reasonably believes that
        the Department’s proposal is not consistent with the terms of the Agreement or the
        purpose of the relevant provision(s) and the requirements set forth in such provision(s).
        The Monitor shall indicate in writing whether the Monitor approves the Department’s
        proposal within 30 days of receiving the Department’s proposal.

27.     Except as required or authorized by the terms of this Agreement or by the Parties acting
        together, the Monitor shall not make any public statements, including statements to the
        press, with regard to the status of the Department’s compliance with this Agreement or
        any act or omission of the Department or the Department’s agents, representatives, or
        employees. Nor shall the Monitor disclose any non-public information provided to the
        Monitor pursuant to this Agreement. Any press statement made by the Monitor regarding
        his employment must first be approved in writing by all Parties.

28.     The Monitor shall not testify in any other litigation or proceeding brought on behalf of or
        against the Department with regard to any act or omission of the Department or any of
        the Department’s agents, representatives, or employees related to this Agreement, nor
        testify regarding any matter or subject that he may have learned of as a result of his
        performance under this Agreement, nor serve as a non-testifying expert regarding any
        matter or subject that he may have learned as a result of his performance under this
        Agreement, without the Court’s authorization. If the Monitor is subpoenaed or ordered to
        appear in any other litigation or proceeding, the Monitor shall notify the Court and the
        Parties immediately.

29.     Unless such conflict is waived by all Parties, the Monitor shall not accept employment or
        provide consulting services that would present a conflict of interest with the Monitor’s
        responsibilities under this Agreement, including being retained (on a paid or unpaid
        basis) by any current or future litigant or claimant, or such litigant’s or claimant’s
        attorney, in connection with a claim or suit against the Department or the Department’s
        officers, agents, or employees.

30.     The Monitor is an agent of the Court and is not a federal, State, or local agency or an
        agent thereof. Accordingly, the records maintained by the Monitor shall not be deemed
        public records subject to public inspection, except that nothing in this provision shall be
        construed as prohibiting public access to the Monitor Reports or any other documents the
        Monitor files with the Court in accordance with Paragraph 16 of this Section.




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                  XXI. COMPLIANCE, TERMINATION, AND CONSTRUCTION

1.     This Court shall have continuing jurisdiction over this action to ensure compliance with
       the terms of this Agreement until the Agreement terminates. The Parties consent to the
       jurisdiction of this Court over any proceedings seeking to enforce the terms of this
       Agreement.

2.     If Plaintiffs’ Counsel believe Defendants are not in compliance with any obligation under
       this Agreement, Plaintiffs’ Counsel shall, before seeking judicial action, give written
       notice of the failure to Defendants and the Monitor. Within 30 days of receipt of such
       notice, Defendants shall respond in writing to Plaintiffs’ Counsel and the Monitor setting
       forth their position with respect to whether they are in compliance with the relevant terms
       of the Agreement and what actions, if any, they propose to take to address the alleged
       lack of compliance. The Parties shall engage in good faith negotiations to attempt to
       resolve the dispute. If, within 45 days of written notice from Plaintiffs’ Counsel (or a
       longer period as agreed upon by the Parties), the Parties have been unable to resolve the
       dispute, the Parties may seek relief from the Court. The Parties commit to work in good
       faith to avoid enforcement actions.

3.     In the case of an emergency related to the provisions in this Agreement posing an
       immediate threat to the safety or well-being of Inmates, Plaintiffs’ Counsel may seek
       judicial action without regard to the notice and negotiation requirements set forth in
       Paragraph 2 above.

4.     Plaintiffs’ Counsel agree not to seek judicial relief in this action for isolated or de
       minimis violations of this Agreement.

5.     This Agreement shall terminate only upon a finding by the Court that Defendants have
       achieved Substantial Compliance with the provisions of this Agreement and have
       maintained such Substantial Compliance for a period of twenty-four months. The burden
       shall be on Defendants to demonstrate such compliance by a preponderance of the
       evidence.

6.     Defendants shall implement all reasonable measures to avoid or minimize any failure to
       timely carry out any requirements of this Agreement. If any unforeseen circumstances
       occur that cause such a failure, Defendants shall notify Plaintiffs’ Counsel and the
       Monitor in writing within 20 days after Defendants become aware of the unforeseen
       circumstances and their impact on Defendants’ ability to comply with a requirement of
       this Agreement. The notice shall describe the cause of the failure to perform and the
       measures taken to prevent or minimize the failure. With respect to any deadlines in
       Sections IV through XVII, if the unforeseen circumstances cause a delay of 14 days or
       fewer, the deadlines shall automatically be extended for the period of the delay. If the
       unforeseen circumstances cause a delay of greater than 14 days, the Parties and the
       Monitor shall meet in good faith to agree upon a reasonable extension of time.




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7.      The City shall not be liable for any failure to perform its obligations in connection with
        any action described in this Agreement if such failure results from an act of God, riot,
        war, civil unrest, flood, earthquake, fire, or strike.

8.      This Agreement shall constitute the entire integrated Agreement of the Parties. No prior
        or contemporaneous communications, oral or written, will be relevant or admissible for
        purposes of determining the meaning of any provisions herein in this litigation or in any
        other proceeding.

9.      Paragraph and section headings do not and are not intended to have any effect on the
        construction of this Agreement.

10.     This Agreement shall be applicable to, and binding upon, all Parties, and their officers,
        agents, employees, assigns, and successors in office.

11.     Failure by any Party to enforce this entire Agreement or any provision thereof with
        respect to any deadline or other provision herein shall not be construed as a waiver of the
        Party’s right to enforce other deadlines or provisions of this Agreement.

12.     If any provision of this Agreement is declared invalid for any reason by a court of
        competent jurisdiction, said finding shall not affect the remaining provisions of this
        Agreement.

13.     The Parties agree to defend any action challenging any provision of this Agreement. The
        Parties shall notify each other of any court challenge to this Agreement. In the event any
        provision of this Agreement is challenged in any local or state court, removal to federal
        court shall be sought, to the extent that removal is available under applicable law.

14.     The Parties agree not to assert any challenge to the validity, lawfulness, or enforceability
        of any provision of this Agreement.

15.     This Agreement may be executed in counterparts, including by signatures delivered by
        facsimile or scanned signatures.



                           XXII. STIPULATION PURSUANT TO THE
                      PRISON LITIGATION REFORM ACT, 18 U.S.C. § 3626

1.      The Parties stipulate and agree, and the Court finds, that this Agreement complies in all
        respects with the provisions of 18 U.S.C. § 3626(a). The Parties further stipulate and
        agree, and the Court finds, that the prospective relief in this Agreement is narrowly
        drawn, extends no further than is necessary to correct the violations of federal rights as
        alleged by the United States and the Plaintiff Class, is the least intrusive means necessary
        to correct these violations, and will not have an adverse impact on public safety or the
        operation of a criminal justice system. Accordingly, the Parties agree and represent that
        the Agreement complies with the provisions of 18 U.S.C. § 3626(a). Except to enforce


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       this Agreement, this section shall not be admissible against Defendants in any court for
       any purpose.



                       XXIII.         RELEASE BY THE PLAINTIFF CLASS

1.     As of the Effective Date, all members of the Plaintiff Class hereby release and waive any
       and all claims for, and any and all rights to pursue, initiate, prosecute, or commence any
       and all causes of action for, class-wide injunctive and declaratory relief based on the
       claims that were asserted in the Second Amended Complaint against Defendants and their
       predecessors, successors, assignees, together with past, present, and future officials,
       employees, representatives, and agents of the Department. Provided, however, that this
       release does not prevent an individual member of the Plaintiff Class from filing or
       prosecuting a claim or action on his/her own behalf seeking equitable relief tailored to the
       specific circumstances of that individual or prevent Plaintiff Class’s Counsel from
       enforcing the terms of this Agreement.
2.     Nothing in this Agreement resolves or bars any claims for damages or rights of action for
       damages by or on behalf of any individual(s).
3.     Any release of individual claims or rights of action for monetary damages in connection
       with any settlement of any Named Plaintiff’s claims shall be addressed in separately
       executed agreement(s).


               XXIV.            ATTORNEYS’ FEES, COSTS, AND DISBURSEMENTS

1.     In full satisfaction of any and all claims for attorneys’ fees, costs, and disbursements
       incurred in this action by the Named Plaintiffs and/or Plaintiff Class’s Counsel in
       prosecuting claims for injunctive and declaratory relief on behalf of the Plaintiff Class up
       to and including the Effective Date, the City shall pay $6,500,000 in attorney time and
       expenses to Plaintiff Class’s Counsel.




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                                    XXV. NOTIFICATIONS

1.     Notices and other written communications pursuant to this Agreement shall be in writing
       and shall, unless expressly provided otherwise herein, be given by hand delivery, express
       courier, or email followed by postage prepaid mail, and shall be addressed as follows:

       FOR THE UNITED STATES:
       Jeffrey K. Powell, Esq.
       Lara Eshkenazi, Esq.
       United States Attorney’s Office
       Southern District of New York
       86 Chambers Street, 3rd Floor
       New York, NY 10007
       Telephone: (212) 637-2706/2758
       Email: Jeffrey.Powell@usdoj.gov
               Lara.Eshkenazi@usdoj.gov

       FOR THE PLAINTIFF CLASS:
       Jonathan S. Chasan, Esq.                          Jonathan S. Abady, Esq.
       Mary Lynne Werlwas, Esq.                          Emery Celli Brinckerhoff & Abady LLP
       Legal Aid Society                                 600 Fifth Avenue, 10th Floor
       199 Water Street, 3rd Floor                       New York, NY 10020
       New York, New York 10038                          Telephone: (212) 763-5000
       Telephone: (212) 577-3530                         Email: jabady@ecbalaw.com
       Email: jchasan@legal-aid.org
               mlwerlwas@legal-aid.org

       FOR DEFENDANTS:
       Celeste Koeleveld, Esq.                           Heidi Grossman, Esq.
       Arthur G. Larkin, Esq.                            Brenda Cooke, Esq.
       Kimberly Joyce, Esq.                              General Counsel
       Corporation Counsel of the                        New York City Department of Correction
          City of New York                               75-20 Astoria Blvd.
       100 Church Street                                 East Elmhurst, NY 11370
       New York, New York 10007                          Telephone: (718) 546-0955
       Telephone: (212) 356-2300                         Email: Heidi.Grossman@doc.nyc.gov
       Email: ckoeleve@law.nyc.gov                              Brenda.Cooke@doc.nyc.gov
                alarkin@law.nyc.gov
                kjoyce@law.nyc.gov

2.     All counsel shall be informed promptly in the event that any substitution is to be made in
       counsel to receive communications under this Agreement, and the name and contact
       information for substitute counsel shall be promptly provided.




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FOR DEFENDANTS CITY OF NEW YORK AND DEPARTMENT OF CORRECTION:

ZACHARY W. CARTER
        Counsel for the City of N     York

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              kjoyce@law.nyc.gov




                           SO ORDERED    this     day   of        20t5




                           LAURA TAYLOR SWAIN
                           UNITED STATES DISTRICT JUDGE




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